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                              IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF COLUMBIA
                                          CIVIL DIVISION


    UNITED STATES OF AMERICA, ex rel.
    BEN R. STOKES,
    Seafirst Fifth Avenue Plaza
    800 Fifth Street, Suite 4100
    Seattle WA 98104                                                          CASE NO.

    Relator,

    vs.
                                                                         TO BE FILED UNDER SEAL
    BOSTON SCIENTIFIC,
    One Boston Scientific Place
    Natick, MA 01760-1537

    MEDTRONIC, INC.
    710 Medtronic Parkway
    Minneapolis, MN 55432-5604

    ST. JUDE MEDICAL, INC.
    1 St. Jude Medical Drive
    St. Paul MN
    55117                                                                DO NOT FILE ON PACER
                                                                         DO NOT PLACE IN PRESS BOX
    Defendants.



              QUI TAM RELATOR’S COMPLAINT UNDER 31 U.S.C. §3729,
                         FEDERAL FALSE CLAIMS ACT

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                                                             Introduction
 

     Relator Ben R. Stokes, by and through his counsel, states his Complaint to the

Court as follows:


     1. Mr. Stokes is the former Sr. Manager of Healthcare Economics for Defendant

          Medtronic, Inc. Mr. Stokes held this position until June of 2009 when he

          voluntarily resigned.




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    2. The Defendants to this Complaint are the leading pacemaker manufacturers

       which collectively represent over 90 percent of the pacemaker market in the

       United States.

    3. The Defendants manufacture, market, and program pacemakers. Defendants

       benefit financially from maximizing the number of procedures to implant and

       replace pacemaker generators (the batteries) in Medicare patients.

    4. Through his employment and work experience, Mr. Stokes discovered that

       agents of pacemaker manufacturers have caused premature depletion of

       pacemaker batteries, causing Medicare patients to undergo unnecessary

       surgical procedures to replace the pacemakers and causing substantial expense

       to the Medicare Program.

    5. Chemical energy in the generator is consumed by use. When the generator’s

       voltage output falls to a level in which cardiac stimulation can no longer be

       maintained, the generator must be replaced.

    6. The pacemaker is hermetically sealed and the majority of it is actually the

       lithium-iodide battery or generator. Replacing the generator means replacing

       the pacemaker itself. The patient must undergo surgery in which the leads or

       wires attached to the heart are left in place and reconnected to the new

       pacemaker.




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    7. The longevity of pacemaker generators is dependent on three factors: (1) the

       individual patient’s pacing dependency, (2) the design and integrity of the

       pacing system components (batteries and leads), and (3) the programmed

       settings of the device.

    8. After implantation, the programmed settings are customarily set by allied

       professionals employed by the Defendant device manufacturers. These allied

       professionals program the devices in the follow-up period after implantation.

       The sales representatives or allied professionals employed by the Defendants

       are the direct beneficiaries of each pacemaker sold and each procedure to

       replace the pacemaker due to generator depletion.

    9. Each time Defendants’ respective sales agents program a pacemaker, a record

       is created and transmitted to their employers which are Defendants in this

       action. For each pacemaker programmed by their agents, Defendants have a

       written history of the voltage output settings on that pacemaker.

    10. Among the variables which affect generator longevity, output settings are the

       only variable which can be manipulated.        If a pacemaker is programmed

       incorrectly or left at high output settings, premature generator depletion will

       occur.

    11. The respective Defendants closely track the incidence of generator replacement

       procedures associated with each employed sales representative. The respective


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       Defendants track the incidence of generator replacements at each hospital

       where their allied professionals are marketing and programming pacemakers.

    12. The Defendants track and know the numbers of generator replacement

       procedures each month and each quarter. They know the identity of each of

       their respective sales representatives or allied professionals involved in the

       programming of each particular pacemaker with a depleted generator.

    13. For each of their manufactured pacemakers, the respective Defendants have

       written records of the programmed settings. Each time Defendants’ agents set

       the output voltage on a pacemaker, a record is created and sent to the

       respective Defendant manufacturers. The programmed settings are also stored

       on the computer hard drive within the pacemaker.

    14. Defendants closely monitor and track their sales representatives by numbers of

       generator replacement procedures each quarter of each fiscal year.       They

       closely monitor and track revenues associated with each generator replacement

       for pacemakers programmed by each sales representative at every hospital in

       the United States.

    15. The Defendants have extensive programs in place to train their employed allied

       professionals in programming pacemaker settings. Defendants train their

       employees with detailed instructions and data addressing the longevity of

       pacemaker generators at different programmed settings. The Defendants and


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           their respective employees know the importance of reprogramming

           pacemakers after implantation to maximize generator longevity. They

           understand the economic incentives to permit or cause premature generator

           depletions in their pacemaker products.1

     16. For example, the Medtronic EnPulse DR series, including models E1DRO1,

           E1DR03, and E1DR06, have a generator longevity range of 4.4 years at the
                                                            
       1
           Numerous textbooks, national
                                   consensus guidelines, and international consensus
     guidelines have recognized the importance of reprogramming pacemakers after
     the sub-acute period of implantation. In 2002, the American College of
     Cardiology, American Heart Association, and the North American Society of
     Pacing and Electrophysiology published their “Guideline Update for Implantation
     of Cardiac Pacemakers, and Antiarrhythmia Devices.” ACC/AHA/NASPE 2002
     Guideline Update for Implantation of Cardiac Pacemakers and Antiarrhythmia
     Devices, A Report of the American College of Cardiology/ American Heart
     Association      Task      Force      on       Practice     Guidelines,       at
     www.acc.org/clinical/guidelines/pacemaker/pacemakerpdf.
     The ACC/AHA/NASPE Consensus Guidelines stated in pertinent part,
     “Programming undertaken at implantation should be reviewed before discharge
     and changed accordingly at subsequent follow-up visits as indicated by
     interrogation, testing and patient needs.” “With careful attention to programming
     pacing amplitude, pulse width, and diagnostic functions, battery life can be
     enhanced significantly without compromising patient safety.” Id. at p. 22.
     In 2003, the North American Society of Pacing and Electrophysiology published
     Standards of Professional Practice for the Allied Professional in Pacing and
     Electrophysiology. PACE, Volume 26, pp. 127-131 (January 2003). The
     Standards of Professional Practice were “developed to articulate the scientific
     foundation, clinical skills, and technical knowledge requisite to provide and
     facilitate the provision of safe quality patient care.” Under the Section “Device
     Follow-Up,” the allied professional is required to “program device parameters,
     controlling for optimal safety, longevity, and therapeutic needs of the patient.” Id.
     at p. 130.
 

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      high 5.0 volt setting to 7.5 years at the low 2.5 volt setting. The Kappa 700

      DR, including models KDR701, KDR703, and KDR706, have a generator

      longevity range of 3.0 years at the high 5.0 volt setting to 5.5 years at the low

      2.5 volt setting.

    17. Each pacemaker generator manufactured by each Defendant has a wide range

      of potential longevity depending on the output settings. The respective

      Defendants and their agents know the exact longevity ranges and associated

      output settings for each pacemaker generator and each pacemaker model.



Introduction to Surge in Generator Replacement Rates for Medicare Patients in
                                Last Six Years


    18. Mr. Stokes’ investigation and analyses confirm that generator replacement

      procedures represented approximately 13 percent of total pacemaker cases

      among Medicare patients in 2004. Total pacemaker cases include both new

      pacemaker implant procedures and pacemaker generator replacement

      procedures.

    19. That rate of 13 percent had been stable dating back to 1993. For 12 years

      prior to 2005, generator replacement rates in the Medicare population had a

      direct linear relationship with total pacemaker cases. That linear relationship

      was a stable flat line at approximately 13 percent of total pacemaker cases.


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    20. Yet in the subsequent four years of 2005, 2006, 2007, and 2008, Mr. Stokes’

       investigation and analyses reveal that gemerator replacement procedures in

       Medicare patients escalated from 13 percent of total pacemaker cases in 2004

       to approximately 28 percent of total pacemaker cases in 2007 and 2008.

    21. In 2002, the Medicare Program paid for 19,751 pacemaker generator

       replacement procedures.

    22. In 2004, the Medicare Program paid for 26,942 pacemaker generator

       replacement procedures.

    23. In 2007, the Medicare Program paid for 44,621 generator replacement

       procedures.

    24. In 2008, the Medicare Program paid for 43,547 pacemaker generator

       replacement procedures.

    25. Within the five-year period of 2002-2007, the number of pacemaker generator

       replacement procedures billed to Medicare more than doubled from 19,751 to

       44,621 procedures. This escalation occurred in a time period of stable and

       improving generator technology and in the same time period that the

       Defendants touted the longevity of their pacemaker products and reported

       minimal generator replacement procedures needed for their products.

    26. If the historical stable rate of generator replacement procedures from 1993-

       2004 had continued through 2008, then the Medicare Program would have paid


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       for approximately 65,031 less procedures to replace pacemaker generator at a

       cost of approximately $10,000 per procedure. If the historical 13-year constant

       rate of generator replacement procedures from 1993-2004 had continued

       through 2008, then between 2005 and 2008, approximately 65,031 Medicare

       patients would not have undergone an invasive surgical procedure to replace a

       pacemaker generator.

    27. The escalation of generator replacement procedures is alarming. Of greater

       concern is that even after considering the national growth in the percent of

       generator replacement procedures and the major jump nationally in

       numbers of generator replacement procedures, there are multiple

       geographic clusters of facilities with generator replacement rates in excess

       of two standard deviations beyond national norms. The results of Mr.

       Stokes’ analyses are statistically significant at a level of p<.005. There is less

       than ½ of 1 percent chance that the results were due to randomness. Multiple

       cluster locations are discussed below.

    28. With respect to the eighteen clusters which represent geographic locations of

       generator replacement rates repeatedly in excess of one or two standard

       deviations for multiple years within the time period of 2004-2008, damages to

       the Medicare Program exceed 80 million dollars.




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       29. The Defendants’ agents market, sell, and program pacemakers within each of

              the geographic clusters discussed below.

       30. The Defendants have concealed the true incidence of premature generator

              depletion among their pacemaker products, their agents have caused or

              contributed to such depletions, and they have profited at the expense of the

              Medicare Program and to the detriment of vulnerable elderly Medicare patients

              undergoing unnecessary surgical procedures to replace pacemaker generators. 2



                                                         Jurisdiction, Venue, and Parties
 

       31. This is an action to recover damages and civil penalties on behalf of the United

              States of America arising out of the false claims presented for payment under

              the Federal Medicare Program. This action arises under the provisions of Title

              31 U.S.C. §3729, et seq, popularly known as the False Claims Act, which
                                                            
       2
           Pacemaker generators
                              have a finite life; however, the generator lifespan varies
       over a broad range depending upon voltage output settings. Generator
       replacements procedures are not inevitable for all patients, particularly among
       Medicare patients whose life expectancy is commonly shorter than generator
       longevity. In a study analyzing National Inpatient Sample data over the time
       period of 1993-2006, the “mean age of primary and replacement [pacemaker]
       patients was 75.5 (+- 12.1 years) and 73.6 (+- 16.0).” Kurtz S Ochoa J,
       Shkoinikov Y, “Implantation Trends and Patient Profiles for Pacemakers and
       Implantable Cardioverter Defibrillators in the United States: 1993-2006,” 33(6)
       PACING AND CLINICAL ELECTROPHYSIOLOGY 705-711, 708 (2010).
       According to Defendants’ own Product Performance Reports, the vast majority of
       pacemakers are taken out of service for reasons other than generator replacements.
       The most common reason is patient mortality.

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       provides that the United States District Courts shall have exclusive jurisdiction

       of actions brought under the Act.

    32. Section 3732(a) of the Act provides that “[a]ny action under section 3730 may

       be brought in any judicial district in which the defendant or, in the case of

       multiple defendants, any one defendant can be found, resides, transacts

       business, or in which any act proscribed by section 3729 occurred.”

    33. An action for violation of the False Claims Act may be brought by the

       Attorney General under 31 U.S.C. §3730(a) or by private persons under the qui

       tam provisions of 31 U.S.C. §3730(b).

    34. The Court has subject matter jurisdiction over this action under 28 U.S.C.

       §§1331 and 1345. The Court may exercise personal jurisdiction over the

       Defendants pursuant to 31 U.S.C. §3732(a). All three Defendants transact

       business in this District. All of the Defendants market, sell, and program

       pacemakers for Medicare patients in this District. Moreover, the Defendants’

       agents schemes to program pacemakers at excessive output levels have caused

       false claims against national federal health care programs which programs are

       funded and managed from federal agencies within the District of Columbia.

    35. Further, the consolidation of all Defendants in this single action is proper

       because of common questions of law and fact.




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    36. There has been no prior public disclosure of “substantially the same

       allegations or transactions as alleged in [this] action…in a Federal criminal,

       civil, or administrative hearing in which the Government or its agent is a

       party” or “in a congressional, Government Accountability Office, or other

       Federal report, hearing, audit, or investigation; …or from the news media.” 31

       U.S.C. 3730 § (4)(A).

    37. In the 2010 Amendment to 31 U.S.C. 3730 § (4)(A), the deletion of the word

       “jurisdiction” and the addition of the language “unless opposed by the

       Government” changed the public disclosure defense from a jurisdictional bar

       to a defense that automatically fails if opposed by the government.

    38. Mr. Stokes did not happen upon any allegations of fraud against any defendant

       in any publicly disclosed documents. There is no publicly disclosed document

       which explicitly reveals any of the false claims against any of the Defendants

       at issue in this action.

    39. The allegations or transactions of false claims as alleged in this action have

       not been publicly disclosed in the enumerated sources of 31 U.S.C. 3730 §

       (4)(A) or any other source.

    40. Rather, as discussed in detail further below, Mr. Stokes’ employment

       experience working inside the industry, his direct personal knowledge gained

       through his position at Medtronic, his personal communications with numerous


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       facilities experiencing excessive generator replacement rates, his personal

       review of generator replacement data available as part of his former position at

       Medtronic, and his extensive investigation and independent analyses detected

       and exposed the schemes to cause generator depletion and false claims against

       the Medicare Program.

    41. Moreover, through his personal knowledge, experience, and investigation, Mr.

       Stokes has independent knowledge of the information underlying the

       allegations of false claims in this case. Although there has been no public

       disclosure as defined under the False Claims Act and therefore no requirement

       for Mr. Stokes to qualify as an “original source,” Mr. Stokes would qualify as

       an “original source” under amended 31 U.S.C. § 3730 (4)(B). He “has

       knowledge that is independent of and materially adds to” any alleged “publicly

       disclosed allegations or transactions” and he has “voluntarily provided the

       information to the Government before filing an action under this section. Id.

    42. Without Mr. Stokes’ knowledge and extensive efforts, the investigation into

       the issues raised in this Complaint would not exist.

    43. Mr. Stokes has served a copy of the Complaint and written disclosure of

       substantially all the material evidence and information in his possession upon

       the United States Department of Justice. Mr. Stokes also provided detailed

       notice to the United States Department of Justice weeks prior to filing the


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      Complaint, including delivery of the draft Complaint and his Disclosure with

      Exhibits to the United States Attorney General and the United States Attorney

      for the District of Columbia before filing this action under seal.



             Introduction to Pacemakers and Pacemaker Programming
 

    44. A pacemaker is a small, generator-powered medical device designed to

      electrically stimulate the heart muscle in an effort to restore a normal heart

      rhythm. A pacemaker system consists of two main parts: the pulse generator

      and pacing leads. The pulse generator houses the generator and electronic

      circuits (like a small computer). These circuits contain sensors and timers that

      identify and regulate how often the pacemaker must send impulses to stimulate

      the heart. The pulse generator is small, measuring approximately 2" x 2" x 1/4"

      (45mm x 45mm x 6mm) and weighing less than 2 ounces (20-30g). The pacing

      leads are flexible, insulated wires that connect to the pulse generator and carry

      the electronic impulse to the heart. The leads also carry signals back from the

      heart to the pulse generator allowing the pulse generator to sense the heart's

      natural electrical activity. By sensing the patient's natural rhythm, the

      pacemaker will only pace the heart when necessary.


    45. Pacemakers may be single or dual chamber. Single chamber pacemakers use a

      single lead attached to either the heart's upper chamber (atrium) or lower

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       chamber (ventricle). Dual chamber pacemakers use two leads, one attached to

       the atrium, the other to the ventricle. Leads can be attached either to the heart’s

       inside surface (endocardium) or outside surface (epicardium).

    46. Leads attached to the endocardium can be surgically placed through a vein

       that communicates with the heart. The leads are positioned within the heart

       with the help of a type of X-ray called fluoroscopy. The vast majority of US

       pacemakers are placed in this manner.

    47. Leads attached to the epicardium require surgical exposure of the heart by

       using an incision through the chest wall. The pulse generator is positioned

       under the skin (and sometimes also under the muscle) in the upper chest near

       the collar bone or in the abdominal area depending on the age and size of the

       patient.

    48. The device manufacturer representative can later communicate with and

       reprogram the pulse generator with a special pacemaker programmer.

    49. Certain Medicare patients may benefit from pacemaker implantation,

       including patients with abnormally slow heart rates, patients who pass out,

       patients on medications that slow the natural heart rate, patients with heart

       valves that leak (regurgitation), patients with an abnormally thick heart

       (hypertrophic cardiomyopathy), and patients with poor heart function.




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       Artificial pacing helps to restore a normal heart rhythm, thereby improving the

       heart's ability to circulate blood through the body.

    50. The most common reason for a repeat operation is the need to replace the

       pulse generator because of energy depletion. How long the pacemaker's

       generator will last depends on the pacemaker's programmed settings as well as

       how frequently the pacemaker is used. Replacement of the pulse generator

       entails making an incision over the old pulse generator, disconnecting it from

       the existing pacing leads, and replacing it with a new pulse generator.

    51. At the time of implantation, the physician attempts to place the wires which

       carry energy from the generator to the heart (aka “leads”) into an area of the

       heart that is most receptive to electrical stimulation. The physician will slowly

       decrease the amount of energy being delivered through the leads until the

       energy fails to initiate a heartbeat, otherwise known as “loss of capture.” The

       physician will then increase the energy to a level somewhat higher than the

       lowest needed to initiate a heartbeat, so that a reasonable safety margin exists

       between the lowest energy needed and the actual energy that the device will be

       set to deliver. This is done to ensure that the heart will have the highest

       probability of long-term receptivity to the pacemaker’s electrical stimulation,

       and that the least amount of energy will be required to stimulate each heartbeat.

       This final setting is known as the pacing threshold.


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    52. Once this area is found, and the pacing threshold has been identified, the lead

       is fixated to the heart wall. This fixation causes some temporary inflammation

       at the fixation site, which makes it less receptive to electrical impulses until the

       inflammation has been eliminated. For this reason, device representatives

       commonly set the generator output to at least twice the pacing threshold for the

       initial implant settings. This physiologic response is also the reason that most

       leads today have steroid tips, which are intended to minimize the inflammatory

       response.

    53. After implantation, pacemakers require monitoring to ensure proper function

       and programming. The first device evaluation typically occurs within 4 months

       after implantation and continues throughout the life of the patient. It is at this

       first device monitoring appointment that the settings should be restored to the

       pacing threshold rates, so that the patient receives the nominal amount of

       energy needed to initiate a heartbeat and/or receive optimal therapy.

    54. At each subsequent visit during the life of the device, the settings should be

       reviewed and optimized so that the patient receives the nominal amount of

       energy needed to initiate a heartbeat.

    55. There are multiple opportunities throughout the life of the device to achieve

       optimal settings concerning programming and energy output. The optimal

       settings are the nominal amount of energy needed to initiate a heartbeat and/or


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       deliver the required therapy. This is well understood by device manufacturer

       representatives who set the output voltage settings.

    56. Unlike most other aspects of patient care in medicine, during implantation and

       throughout the follow-up care of the patient, representatives of the Defendant

       device manufacturers have direct contact with patients and typically handle

       device settings and function (aka “interrogation”) and reprogram device

       settings (aka “reprogramming) through computerized evaluation of the device

       and radiofrequency communications with the device during follow-up. The

       “interrogation” and “reprogramming” typically take place in outpatient

       cardiologist practices or in outpatient hospital “device clinics.” In either setting

       there are manufacturer personnel who are specifically trained to program the

       device settings, including energy output.

    57. The manufacturer-specific nature of programmers typically means that allied

       professionals employed by the Defendant manufacturers have more knowledge

       about a particular device and its associated programmer than a physician or

       nurse.



     Introduction to Mr. Stokes’ Employment, Experience, and Investigation




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    58. While touting the longevity of their devices, the reality is that generator

       replacement procedures have escalated in the last 6 years with clusters of

       excessive generator replacement procedures in close geographic proximity.


    59. In his role as Sr. Manager of Healthcare Economics employed by Defendant

       Medtronic, Mr. Stokes had the unique opportunity to travel throughout the

       United States, visiting hospitals and delivering education pertaining to

       documentation, coding and billing for cardiac devices such as pacemakers and

       ICDs. During his tenure of employment at Medtronic, he personally visited and

       worked with over 300 hospitals across 40 states. As he would visit with

       customers in the various facilities, they would share how their device costs,

       case mix, payor mix and utilization trends were impacting their overall

       profitability for these procedures. Because of this experience, he began to be

       able to recognize metrics that were inconsistent with the “norms” he was

       learning from the majority of other facilities. One of the metrics that caught his

       attention early on was the anomalies he would see in device replacement rates

       among Medtronic customers where Medtronic’s employed sales agents worked

       to program pacemakers.

    60. At the same time, he was personally developing the majority of Medtronic’s

       economic tools and resources. Some of these were internal analytic tools

       designed to educate and equip sales teams regarding various objections they

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       may receive from customers concerning device features and benefits and their

       associated costs. Among these various tools that he developed was one that

       looked at pacemaker longevity and its impact on costs and profitability.

    61. Simultaneously, he began to develop a customer-facing, sensitivity tool which

       allowed Medtronic to estimate a specific facility’s profitability on individual

       procedures by making various revenue and cost driver factors. Part of that

       development included reviewing MedPAR data to establish base-rate data for

       certain variables within the model, including national pacemaker implant and

       replacement rates. As he began to use the tool, he continued to see abnormal

       spikes in device replacement rates among Medicare patients at various

       hospitals.

    62. Mr. Stokes knew that the principal drivers of device longevity were the

       patient’s own demand for pacing; the quality and integrity of the device

       components themselves; and the energy settings programmed in the device.

       From his employment experience in the industry, Mr. Stokes knew that patient

       pacing demand was stable and normalized on a national level; that pacemaker

       generators were reasonably stable from a component standpoint; and that

       generator technology was competitive and stable among the various device

       companies.




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    63. He also knew that in addition to the economic incentives for device growth,

       there was a clinical environment vulnerable to abuse by manufacturers’ agents.

       The fact that device interrogations and reprogramming are customarily

       performed by the device representatives themselves, without direct physician

       supervision or review, means that the stakeholder who benefits most from

       device replacements is typically the same person who controls the programmed

       settings on the device.

    64. In a larger context, the cardiac rhythm device industry was booming at this

       time. A landmark trial called SCD-HeFT (Sudden Cardiac Death in Heart

       Failure Trial) ushered in a major expansion of implantable cardioverter

       defibrillator (ICD) indications. This rapid expansion of ICD indications and

       utilization captured the attention of industry and hospitals. While hospitals

       were concerned about profitability on these expensive devices, the industry as

       a whole, and device representatives in particular, were enjoying unprecedented

       profits and growth projections. Medtronic and others were hiring and

       expanding. However, the growth that SCD-HeFT promised was not sustained

       and never fully materialized due to provider concerns about costs and a general

       lack of awareness about the new indications. On top of that, a series of

       unprecedented device re-calls began to unfold, seriously eroding the

       confidence of patients and physicians in device therapy. Suddenly, the income


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       of device companies fell dramatically, and the sales representative competition

       at the local level for every device implant heated up. Pacemakers began to be

       appreciated again as a kind of “stable annuity” against the volatility of the ICD

       business.

    65. Through his position as Sr. Manager of Healthcare Economics for Medtronic’s

       Cardiac Rhythm Disease Management, Mr. Stokes personally and directly saw

       evidence of excessive spikes in generator replacement rates among some

       Medtronic customers. In addition to the significant spikes that Mr. Stokes

       witnessed in generator replacement rates among Medtronic customers where

       pacemakers were being programmed by Medtronic’s employees, Mr. Stokes 

       also received information about a sales agent employed by Boston Scientific

       who was programming pacemakers at excessive output levels to deplete

       generator longevity. This sales agent was marketing and programming

       pacemakers being implanted at two particular hospitals in Texas.

    66. Mr. Stokes obtained and analyzed the total pacemaker cases at both of these

       facilities, including new system pacemaker implants and generator replacement

       procedures over the five-year period of 2004 to 2008.

    67. The patterns at both hospitals indicated the presence of artificial influences on

       the rates of generator replacement procedures with striking aberrational rates of

       replacement procedures as compared to national norms.


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    68. But of greater concern to Mr. Stokes was that as he did his detailed national

       analyses, there were multiple locations with more striking data, patterns, and

       indicators of manipulated influences on generator replacement procedures.

    69. From his employment experience, Mr. Stokes knew that there were agents of

       device manufacturers causing premature generator depletions and causing

       increased surgical procedures to replace depleted generators among Medicare

       patients. As part of his position as Senior Manager of Healthcare Economics at

       Medtronic, Mr. Stokes personally saw recurrent evidence of such conduct at

       locations where he evaluated detailed data on generator replacement rates and

       new pacemaker implant procedures.

    70. To investigate the scope of schemes to deplete generators through high

       voltage settings, Mr. Stokes undertook extensive analyses of national Medicare

       pacemaker generator replacement claims data. In performing such analyses,

       Mr. Stokes used many of the same analytical methods and statistical tools used

       in his former position at Medtronic to evaluate pacemaker and generator

       replacement data among Medicare patients.

    71. The Centers for Medicare and Medicaid Services (CMS) receives claims data

       from medical providers treating Medicare patients. The Medicare Provider

       Analysis and Review (MedPAR) file contains claims data received from

       medical providers treating in-patients who are Medicare beneficiaries. The


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      national file consists of approximately 12 million records per year. A separate

      file is maintained for each federal fiscal year (October 1 – September 30).

    72. Within MedPAR, there are millions of codes corresponding to millions of

      patient admissions for Medicare beneficiaries. To report a particular medical

      condition or medical procedure, Medicare has established a coding system for

      hospitals participating in the Medicare program. A particular numeric code

      signifies a particular medical diagnosis or procedure. For each Medicare claim,

      there are nine potential fields for diagnostic codes and six potential fields for

      procedure codes. MedPAR is entirely composed of diagnostic and procedure

      codes associated with each in-patient admission for each Medicare patient.

    73. Mr. Stokes has compiled, organized, and analyzed thousands of data points

      pertaining to pacemaker generator replacement and new pacemaker procedures

      at facilities across the United States.

    74. Mr. Stokes used the United States Medicare Provider Analysis Report

      (“MedPAR”) and the US Medicare Outpatient Claims Data set for the years

      2004, 2005, 2006, 2007, and 2008. The benefits of these datasets include: (a)

      largest and most current sample size available; (b) least impacted by the

      variable of state and/or carrier specific coverage determinations; and (c) well-

      suited for the age demographic meeting pacemaker therapy.




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    75. With the US Medicare Provider Analysis Report (“MedPar”) data for years

       2004 thru 2008, Mr. Stokes used the following Medicare Diagnostic Related

       Groups (“DRG”) as query metrics:


                 2004 MedPar Query: DRG 115, DRG 116, and DRG 118

                 2005 MedPar Query: DRG 115, DRG 116, and DRG 118

                 2006 MedPar Query: DRG 551, DRG 552, and DRG 118

                 2007 MedPar Query: DRG 242, DRG 243, DRG 244, DRG 258,

                     and DRG 259

                 2008 MedPar Query: DRG 242, DRG 243, DRG 244, and DRG

                     259


    With US Medicare Outpatient Claims Data (“OP”) for years 2004 thru 2008, Mr.

    Stokes used the following Current Procedural Terminology (“CPT”) codes as

    query metrics:


              OP 2004: CPT 33206, CPT 33207, CPT 33208, CPT 33212, CPT

                33213, and CPT 33214

              OP 2005: CPT 33206, CPT 33207, CPT 33208, CPT 33212, CPT

                33213, and CPT 33214

              OP 2006: CPT 33206, CPT 33207, CPT 33208, CPT 33212, CPT

                33213, and CPT 33214

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              OP 2007: CPT 33206, CPT 33207, CPT 33208, CPT 33212, CPT

                33213, and CPT 33214

              OP 2008: CPT 33206, CPT 33207, CPT 33208, CPT 33212, CPT

                33213, and CPT 33214


    76. MedPAR is millions of innocuous numbers or codes. There is no allegation of

       fraud within MedPAR which is composed entirely of codes as referenced

       above for example. There is no allegation whatsoever within MedPAR. There

       is no disclosure of fraudulent transactions within MedPAR itself.

    77. The coding numbers within MedPAR are submitted by the hospitals treating

       Medicare beneficiaries. The coding numbers are not a federal or governmental

       report or any inquiry by the government. They are simply numerical codes

       submitted by the hospitals treating Medicare beneficiaries.

    78. Accurate coding is critical to the Medicare Program. Coding is used to

       determine payments under the Medicare Program. In their submissions to

       Medicare, medical providers have certified the accuracy of the diagnoses and

       procedures reported to Medicare through the coding system.

    79. MedPAR contains records for 100% of Medicare beneficiaries who use

       hospital inpatient services. The records are stripped of most data elements that

       will permit identification of beneficiaries. The six position Medicare billing

       number identifies the hospital.
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    80. Through Mr. Stokes’ extensive analyses of generator replacement rates and

       total pacemaker cases, 35 hospitals emerged with replacement rates repeatedly

       in excess of one or two standard deviations beyond the cohort averages for the

       time period 2004-2008. Each of these 35 facilities is joined by other facilities

       in close proximity with patterns of excessive generator replacements.

    81. In evaluating these facilities with the highest rates of replacement procedures

       as compared to national norms, eighteen geographic clusters emerged.

    82. Mr. Stokes believes that these geographic clusters evidence the leading

       locations or sales territories of manufacturers’ employees setting the

       pacemakers at excessive levels of voltage output. Each Defendant employs

       agents who market and program pacemakers within the clustered locations.

       The clusters mark the territory of multiple facilities with replacement rates

       repeatedly exceeding one or two standard deviations over cohort averages

       during the five-year period.



    Summary of Mr. Stokes’ Investigation and Analyses of Data on Pacemaker
        Generator Replacement Procedures Among Medicare Patients



    83. In Mr. Stokes’ analyses of replacement rates at the final cohort of 572

       hospitals, geographic clusters as determined by Medicare CBSA codes



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      emerged with evidence of recurrent replacement rates in excess of two

      standard deviations beyond cohort averages.

    84. The Medicare CBSA or Core-Based Statistical Area is the name used by the

      Centers for Medicare and Medicaid Services to describe both metropolitan

      statistical areas (population of 50,000 or more people) and micropolitan

      statistical areas (population from 10,000 up to 50,000 people). A CBSA

      contains one or more counties with an urban area of 10,000 or more people and

      the counties that have people who would commute to that area. There are over

      900 CBSA codes used by the Medicare Program for the United States.

    85. The   territories   to   which   Defendants   assign   their   employed   sales

      representatives and allied professionals are predicated on factors parallel to the

      CBSA territories. Defendants commonly assign their agents to work within a

      particular territory which corresponds to a CBSA territory.

    86. Within each of the geographic clusters, there are facilities which have

      experienced generator replacement procedures at rates in excess of two

      standard deviations over the national average for one or more years during the

      time period of 2004-2008. Even after considering the national growth in the

      percent of generator replacement procedures and the major jump nationally in

      numbers of generator replacement procedures, there are eighteen clusters of

      facilities with generator replacement rates in excess of two standard deviations


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      beyond cohort averages. With respect to each of the standard deviations

      identified below, the results are statistically significant at a level of p<.005.

      There is less than ½ of 1 percent chance that the results were due to

      randomness.

    87. Out of over 900 CBSAs in the United States, 18 CBSAs or regional clusters

      emerged with generator replacement rates repeatedly in excess of one or two

      standard deviations over the cohort averages. Excessive generator replacement

      rates in these 18 clusters represent damages to the Medicare Program in excess

      of 80 million dollars and represent thousands of unnecessary surgical

      procedures upon elderly patients with underlying cardiac conditions.


    88. The initial dataset analyzed by Mr. Stokes included information on 3,291

      United States hospitals with at least one new pacemaker implant between the

      years of 2004 and 2008. In total, these hospitals performed 887,453 new

      pacemaker implants between 2004 and 2008.

    89. Using new implant volume in 2004 as a proxy for heart vascular program

      maturity, Mr. Stokes excluded 2,573 hospitals (78%) whose 2004 total case

      volume was less than 100 cases. This exclusion was designed to eliminate

      variability in the cohort due to clinical inexperience. The remaining 718 United

      States hospitals performed 616,321 new pacemaker implants between the years



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       2004 and 2008, representing 69.4% of the new pacemaker implant volume in

       the initial dataset.

    90. Using total new implant volume as a proxy for heart and vascular program

       stability, Mr. Stokes then excluded an additional 146 US hospitals (4.4%)

       whose five-year total new implant volume was less than 500 cases. This

       exclusion was designed to eliminate variability in the cohort due to stagnant or

       declining volumes, which would presumably increase volumes at neighboring

       competitive facilities.

    91. The final cohort is comprised of 572 United States hospitals, representing

       17.38% of the initial dataset. These 572 hospitals collectively performed

       555,308 new pacemaker implants between the years 2004 and 2008,

       representing 62.6% of the new pacemaker implant volume in the initial dataset.

    92. In analyzing the growth rates for new implant procedures, a facility would not

       be expected to have low rates of growth with new devices, yet high rates of

       growth for replacement procedures as compared to national norms. Such a

       picture is inconsistent with expected market trending. Yet that has happened in

       the clustered locations discussed below. The clusters evidence a recurring

       pattern of total pacemaker cases declining or remaining stable while generator

       replacement procedures soared in numbers during the five-year period.




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    93. During this 5 year period, at these 572 hospitals, the national average rate of

       pacemaker replacement procedures per year doubled from a low of 14.2

       percent of total pacemaker cases in 2004 to a high of 28.5 percent of total

       pacemaker cases in 2008.

    94. On a facility level, the five-year rate of generator replacement procedures

       varied from a low of 1.16 percent to a high of 39.89 percent of total pacemaker

       cases.

    95. The facilities where replacement procedure rates exceeded two standard

       deviations beyond cohort averages are commonly surrounded by other

       facilities also exhibiting replacement rates exceeding at least one or two

       standard deviations beyond cohort averages.

    96. Mr. Stokes’ extensive analyses are summarized and compiled within the Excel

       spreadsheets provided to the Department of Justice.


      Introduction to Geographic Clusters with Replacement Rates in Excess of
               Two Standard Deviations Beyond the Cohort Average



      Cluster One in the Miami-Fort Lauderdale-Miami Beach, Florida CBSA



    97. Mr. Stokes’ investigation and analyses reveal a cluster of statistically

       significant excessive replacement rates in the Miami-Fort Lauderdale-Miami


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       Beach, Florida CBSA. That cluster is composed of two hospitals with

       replacement rates repeatedly in excess of two standard deviations beyond

       cohort averages and five additional facilities which have repeatedly

       experienced replacement rates in excess of one standard deviation beyond

       cohort averages for the five year period of 2004-2008.


    98. The two hospitals where replacement rates have repeatedly exceeded two

       standard deviations beyond the cohort averages for the final cohort of 572

       facilities are Delray Medical Center and Holy Cross Hospital. The five

       facilities with replacement rates exceeding one standard deviation beyond

       cohort averages are Aventura Hospital and Medical Center, Palm Beach

       Gardens Medical Center, Baptist Hospital of Miami, Memorial Regional

       Hospital, and JFK Medical Center. All of these facilities are located within the

       same CBSA named Miami-Fort Lauderdale-Miami Beach.

    99. All seven of these facilities within the Miami cluster had replacement rates

       which repeatedly exceeded one or two standard deviations beyond the cohort

       averages during the five year period of 2004-2008.


                                 Delray Medical Center


    100.     At Delray Medical Center, generator replacement rates have been

       consistently excessive at compared to cohort and national averages. Between

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      2004 and 2008, generator replacement rates moved from 28 percent of total

      cases in 2004, 41.26 percent of total cases in 2005, 40.14 percent in 2006,

      45.64 percent in 2007 to 45.37 percent in 2008. The five-year replacement rate

      at Delray Medical Center is double the national average at 39.5 percent of total

      pacemaker cases. While consistently excessive every year of the five year

      period, the generator replacement rates surged at Delray Medical Center

      between 2004 and 2008. In 2004, there were 494 total pacemaker cases,

      including 136 generator replacement procedures. By 2008, total pacemaker

      cases declined from 494 to 493 cases, yet generator replacement procedures

      surged from 136 procedures in 2004 to 201 procedures in 2008.

    101.    As mentioned in 2004, Delray Medical Center had 494 total pacemaker

      cases, including 136 generator replacement cases. This represents a 28 percent

      generator replacement rate as compared to the national average of 12.59

      percent among all hospitals. Thus, in 2004, Delray Medical Center’s rate of

      generator replacements as a percent of total pacemaker cases was more than

      double the national average among all hospitals.

    102.      In 2005, there were 412 total pacemaker cases with 170 procedures

      for generator replacements, representing 41.26 percent of the total cases. The

      national average among all hospitals of generator replacements as a percent of

      total pacemaker cases in 2005 was 18 percent. In 2005, the rate of generator


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      replacements as a percent of total pacemaker cases was again more than double

      the national average.

    103.    In 2005, Delray Medical Center experienced generator replacement rates

      in excess of two standard deviations over the national average in 2005. The

      results are statistically significant at a level of p<.001. There is less than ½ of

      1 percent chance that the results were due to randomness.

    104.     In 2006, there were 431 total pacemaker cases. Among these 431 total

      cases, there were 173 procedures for generator replacements, representing

      40.14 percent of the total pacemaker cases. The national average of generator

      replacements as a percent of total pacemaker cases in 2006 was 20 percent. In

      2006, Delray Medical Center’s rate of generator replacements as a percent of

      total pacemaker cases was again approximately double the national average.

    105.      In 2007, there were 390 total pacemaker cases. Among these 390 total

      cases, there were 178 procedures for generator replacements, representing

      45.64 percent of the total pacemaker cases at Delray Medical Center as

      compared to the national average of 26 percent.

    106.       In 2008, among 443 total pacemaker cases, 201 procedures were for

      generator replacements, representing 45.37 percent of the cases. The national

      average of generator replacements as a percent of total pacemaker cases in

      2008 was 28 percent.


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    107.    The five-year total of generator replacements as a percent of total

      pacemaker cases at Delray Medical Center was 39.5 percent as compared to

      the national average of 20.2 percent.

    108.    The aberrant rates of replacement procedures at Delray Medical Center

      mark a specific territory where other hospitals have experienced excessive

      rates of generator replacement procedures.


                        Holy Cross Hospital---Miami, Florida
                                               
    109.    In the same CBSA as Delray Medical Center, Holy Cross Hospital

      experienced generator replacement rates in excess of two standard deviations

      over the national cohort average in 2004 and 2006. The results are statistically

      significant at a level of p<.005. There is less than 1 percent chance that the

      results were due to randomness

    110.     Holy Cross Hospital had 234 total pacemaker cases in 2004. Among

      these 234 cases, 77 procedures were for generator replacements, representing

      33 percent of cases as compared to the national average of 12.59 percent.

    111.    In 2005, among 220 total pacemaker cases, 81 procedures were for

      generator replacements, representing 36.82 percent of the cases. The national

      average of generator replacements as a percent of total pacemaker cases in

      2005 was 18 percent.


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    112.     In 2006, among 201 total pacemaker cases, 82 procedures were for

      generator replacements, representing 40.80 percent of the cases. The national

      average of generator replacements as a percent of total pacemaker cases in

      2006 was 20 percent. For three consecutive years, the rates of generator

      replacement procedures at Holy Cross were double the national average.

    113.     In 2007, among 181 total pacemaker cases, 67 procedures were for

      generator replacements, representing 37.02 percent of the cases. The national

      average of generator replacements as a percent of total pacemaker cases in

      2007 was 26 percent.

    114.    In 2008, among 195 total pacemaker cases, 74 procedures were for

      generator replacements, representing 37.95 percent of the cases. The national

      average of generator replacements as a percent of total pacemaker cases in

      2008 was 28 percent.

    115.      The five-year total of generator replacements as a percent of

      pacemaker cases at Holy Cross Hospital was 37.0 percent as compared to the

      national average of 20.2 percent.

    116.    Other hospitals within the Miami CBSA have experienced aberrant rates

      of generator replacement procedures, further evidencing the cluster.




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                       Palm Beach Gardens Medical Center
 
    117.      In 2006, 2007, and 2008, generator replacement rates at Palm Beach

      Gardens Medical Center repeatedly exceeded one standard deviation beyond

      the national average among the final cohort of 572 hospitals.

    118.      Palm Beach Gardens Medical Center had 291 total pacemaker cases in

      2004. Among these 291 cases, at least 42 procedures were for generator

      replacements in pacemakers, representing 14.43 percent of total cases which

      was close to the national average of 12.59 percent for all hospitals.

    119.       In 2005, among 304 total pacemaker cases, 61 procedures were for

      generator replacements, representing 20.07 percent of the cases. The national

      average of generator replacements as a percent of total pacemaker cases in

      2005 was 18 percent.

    120.      In 2006, among 244 total pacemaker cases, 91 procedures were for

      generator replacements, representing 37.30 percent of the cases. The national

      average of generator replacements as a percent of total pacemaker cases in

      2006 was 20 percent. Between 2004 and 2006, total pacemaker cases declined

      from 291 cases in 2004 to 244 cases in 2006. Yet generator replacement

      procedures more than doubled from 42 procedures in 2004 to 91 procedures in

      2006.



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    121.        In 2007, among 259 total pacemaker cases, 100 procedures were for

      generator replacements, representing 38.61 percent of the cases. The national

      average of generator replacements as a percent of total pacemaker cases in

      2007 was 26 percent.

    122.        In 2008, among 270 total pacemaker cases, 108 procedures were for

      generator replacements, representing 40.00 percent of the cases. The national

      average of generator replacements as a percent of total pacemaker cases in

      2008 was 28 percent.

    123.       Between 2004 and 2008, total pacemaker cases at Palm Beach Gardens

      Medical Center declined from 291 to 270 cases, yet generator replacement

      procedures surged from 42 procedures in 2004 to 108 procedures in 2008.

    124.       Between 2004 and 2008, the replacement rate percent at Palm Beach

      Gardens Medical Center moved from 14.43 percent to 40 percent of total

      cases.

    125.        The five-year average growth per year in generator replacements at

      Palm Beach Gardens Medical Center was 21 percent or nearly the double the

      national average of 10.08 percent.


                                JFK Medical Center
 




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    126.    In the same Miami CBSA, although JFK Medical Center exceeded one

      standard deviation in only one of the five years, the jump in replacement rates

      remains significant.

    127.    At JFK Medical Center, the replacement rate percent moved from 10.5

      percent of total pacemaker cases in 2004 to 21.53 percent in 2005, 31.78

      percent in 2006, 33.23 percent in 2007, and 35.61 percent in 2008.

    128.    In 2004 there were 381 total pacemaker cases and only 40 replacement

      procedures at JFK Medical Center. In 2008 there were 337 total pacemaker

      cases and 120 generator replacement procedures at JFK. Comparing 2004 and

      2008, while total pacemaker cases declined from 381 to 337 cases, generator

      replacement procedures tripled in number.


                             Baptist Hospital of Miami
 

    129.    At Baptist Hospital of Miami, the replacement rate percent moved from

      12.68 percent of total pacemaker cases in 2004 to 28.48 percent in 2005, 26.56

      percent in 2006, 42.76 percent in 2007, and 39.05 percent in 2008.

    130.    In 2004 there were 205 total pacemaker cases with only 26 replacement

      procedures at Baptist Hospital of Miami. In 2008 there were 169 total

      pacemaker cases and 66 generator replacement procedures at Baptist Hospital




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              of Miami. Comparing 2004 and 2008, while total pacemaker cases declined,

              generator replacement procedures increased by 250 percent.


                                                         Boca Raton Community Hospital
 

       131.                  In the same Miami CBSA, at Boca Raton Community Hospital, the

              replacement rate percent moved from 15.50 percent of total pacemaker cases in

              2004 to 34.86 percent of total cases in 2007.

       132.                  In 2004, there were 413 total pacemaker cases at Boca Raton

              Community Hospital with only 64 replacement procedures. In 2007 there were

              fewer total pacemaker cases (350) but nearly double the number of

              replacement procedures (122) as compared to 2004. 3


                                                  Aventura Hospital and Medical Center
 
       133.                  In the same Miami CBSA, replacement rates at Aventura Hospital and

              Medical Center moved from 19.29 percent of total cases in 2004 to 42.95

              percent of total cases in 2007. In 2004, there were 140 total pacemaker cases

                                                            
       3
           In close proximity to
                               the Miami cluster is another location approximately 100
       miles away in Stuart, Florida which experienced replacement rates in excess of
       one standard deviation for four consecutive years between 2005 and 2008.
       At Martin Memorial Medical Center, the replacement rates moved from 11.84
       percent of total cases in 2004 to 32.50 percent in 2005, 35.45 percent in 2006,
       37.91 percent in 2007, and 46.63 percent in 2008.
 

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      at Aventura Hospital with only 27 replacement procedures. In 2005, there were

      131 total pacemaker cases with 35 replacement procedures. In 2007 total

      pacemaker cases remained close to the level of 2004 at 149 cases. Yet

      replacement procedures increased from 27 procedures in 2004 to 64 procedures

      in 2007.


                                 Mercy Hospital
 

    134.    In the same Miami CBSA, replacement rates at Mercy Hospital moved

      from 17.03 percent of total cases in 2004 to 47.01 percent of total cases in

      2008. In 2004, there were 229 total pacemaker cases at Mercy Hospital with

      only 39 replacement procedures. In 2006, there were 181 total pacemaker cases

      with 39 replacement procedures again. Yet in 2008, total pacemaker cases

      declined significantly to 135 cases while replacement procedures surged to 64

      procedures.


       Cluster Two in the New York-Northern New Jersey-Long Island CBSA
 

    135.    Within the New York-Northern New Jersey-Long Island CBSA,

      multiple hospitals have experienced replacement rates in excess of one and two

      standard deviations over cohort averages. Within the same CBSA, three

      hospitals have experienced annual replacement rates in excess of two standard



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      deviations and six other hospitals have repeatedly experienced replacement

      rates in excess of one standard deviation over the time period of 2004-2008.

    136.    The three hospitals within this CBSA which have experienced annual

      replacement rates in excess of two standard deviations above the cohort

      average are Newark Beth Israel Medical Center, New York Hospital Queens,

      and Huntington Hospital.

    137.    In 2004 and 2006, New York Hospital Queens experienced generator

      replacement rates in excess of two standard deviations over the cohort average

      and also experienced generator replacement rates in excess of one standard

      deviation over the cohort average in 2007.

    138.    In 2005, Newark Beth Israel Medical Center experienced generator

      replacement rates in excess of two standard deviations over the cohort average

      and also experienced generator replacement rates in excess of one standard

      deviation over the cohort average in 2004 and 2006.

    139.    Within the same CBSA, Saint Barnabas Medical Center and New York

      Presbyterian Hospital experienced generator replacement rates in excess of one

      standard deviation over the cohort average for three of the five years.

    140.    Within the same CBSA, Saint Francis Hospital experienced replacement

      rates in excess of one standard deviation every year for five consecutive years,

      2004-2008.


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                              Saint Francis Hospital
 

    141.    In 2004 Saint Francis Hospital had 895 total pacemaker cases. Among

      these 895 cases, 233 procedures were for generator replacements in

      pacemakers, representing 26 percent of cases as compared to the national

      average of 12.59 percent among all hospitals.

    142.    In 2005, among 622 total pacemaker cases, 208 procedures were for

      generator replacements, representing 33.44 percent of the cases. The national

      average of generator replacements as a percent of total pacemaker cases in

      2005 was 18 percent.

    143.    In 2006, among 625 total pacemaker cases, 214 procedures were for

      generator replacements, representing 34.24 percent of the cases. The national

      average of generator replacements as a percent of total pacemaker cases in

      2006 was 20 percent.

    144.    In 2007, among 539 total pacemaker cases, 240 procedures were for

      generator replacements, representing 44.53 percent of the cases as compared to

      the national average of 26 percent.

    145.    In 2008, among 522 total pacemaker cases, 243 procedures were for

      generator replacements, representing 46.55 percent of the cases as compared to

      the national average of 28 percent.



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    146.    Between 2004 and 2008, total pacemaker cases at Saint Francis declined

      significantly from 895 cases in 2004 to 522 cases in 2008. Yet generator

      replacement procedures increased from 233 to 243 procedures. Between 2004

      and 2008, generator replacement procedures moved from 26 percent of total

      cases to 46 percent of total cases at Saint Francis Hospital.

    147.    The five-year rate of generator replacements as a percent of pacemaker

      cases at Saint Francis Hospital was 35.5 percent as compared to the national

      average of 20.2 percent.


                         New York Presbyterian Hospital
 

    148.    In the same New York CBSA, New York Presbyterian Hospital had 613

      total pacemaker cases in 2004. Among these 613 cases, 125 procedures were

      for generator replacements in pacemakers, representing 20.39 percent of the

      total cases as compared to the national average of 12.59 percent among all

      hospitals.

    149.    In 2005, among 533 total pacemaker cases, 166 procedures were for

      generator replacements, representing 31.14 percent of the total cases. The

      national average of generator replacements as a percent of total pacemaker

      cases in 2005 was 18 percent. Between 2004 and 2005, total pacemaker cases




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      declined from 613 to 533, yet replacement procedures climbed from 125

      procedures in 2004 to 166 procedures in 2005.

    150.       In 2006, among 442 total pacemaker cases, 144 procedures were for

      generator replacements, representing 32.58 percent of the cases as compared to

      the national average of 20 percent.

    151.       In 2007, among 525 total pacemaker cases, 191 procedures were for

      generator replacements, representing 36.38 percent of the cases as compared to

      the national average of 26 percent.

    152.       In 2008, there were 484 total pacemaker cases at New York Presbyterian

      Hospital with 200 replacement procedures, representing 41.32 percent of the

      cases.

    153.       Between 2004 and 2008, total pacemaker cases declined from 613 cases

      in 2004 to 484 cases in 2008. Yet replacement procedures escalated from 125

      procedures in 2004 to 200 procedures in 2008. Between 2004 and 2008, the

      replacement rate at New York Presbyterian Hospital moved from 20.39 percent

      of total cases in 2004 to 41.32 percent of total cases in 2008.

    154.       The five-year rate of generator replacements as a percent of pacemaker

      cases at New York Presbyterian Hospital was 31.81 percent as compared to the

      national average of 20.2 percent.




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                             New York Hospital Queens
 

    155.    In the same New York CBSA, New York Hospital Queens had 202 total

      pacemaker cases in 2004. Among these 202 cases, 60 procedures were for

      generator replacements in pacemakers, representing 29.70 percent of cases or

      over double the national average of 12.59 percent among all hospitals.

    156.    In 2005, among 163 total pacemaker cases, 46 procedures were for

      generator replacements, representing 28.22 percent of the cases. The national

      average of generator replacements as a percent of total pacemaker cases in

      2005 was 18 percent.

    157.    In 2006, among 136 total pacemaker cases, 54 procedures were for

      generator replacements, representing 39.71 percent of the cases or nearly

      double the national average of generator replacements as a percent of total

      pacemaker cases.

    158.    In 2007, among 180 total pacemaker cases, 72 procedures were for

      generator replacements, representing 40 percent of the cases as compared to

      the national average of 26 percent.

    159.    The five-year rate of generator replacements as a percent of pacemaker

      cases at New York Hospital Queens was 33.21 percent as compared to the

      national average of 20.2 percent.



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                       Newark Beth Israel Medical Center
                                               

    160.    In the same New York CBSA, Newark Beth Israel Medical Center had

      170 total pacemaker cases in 2004. Among these 170 cases, 48 procedures

      were for generator replacements in pacemakers, representing 28.24 percent of

      the total cases or over double the national average of 12.59 percent among all

      hospitals.

    161.    In 2005, among 165 total pacemaker cases, 72 procedures were for

      generator replacements, representing 43.64 percent of the total cases. The

      national average of generator replacements as a percent of total pacemaker

      cases in 2005 was 18 percent.

    162.    In 2006, among 123 total pacemaker cases, 40 procedures were for

      generator replacements, representing 32.52 percent of the total cases as

      compared to the 20 percent national average.

    163.    In 2007, among 113 total pacemaker cases, 41 procedures were for

      generator replacements, representing 36.28 percent of the total cases as

      compared to the national average of 26 percent.

    164.    The five-year rate of generator replacements as a percent of pacemaker

      cases at Newark Beth Israel Medical Center was 34.91 percent as compared to

      the national average of 20.2 percent.



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                             Somerset Medical Center
 

    165.    In the same New York CBSA, replacement rates at Somerset Medical

      Center exceeded one standard deviation in only one of the five years (2008);

      however, the jump in replacement procedures over the five-year period is

      significant.

    166.    In 2004, there were 127 total pacemaker cases at Somerset with only 10

      replacement procedures, representing 7.87 percent of the cases. By 2008, total

      pacemaker cases declined slightly to 119 cases; however, replacement

      procedures surged to 56 procedures as compared to 10 procedures in 2004.

    167.    Between 2004 and 2008, replacement rates at Somerset moved from

      7.87 percent of total pacemaker cases in 2004 to 47.06 percent of total

      pacemaker cases in 2008.


                         Saint Barnabas Medical Center
 

    168.    In the same New York CBSA, at Saint Barnabas Medical Center there

      were 255 total pacemaker cases with 55 generator replacement procedures in

      2004, representing 21.57 percent of the cases.

    169.    In the next year, total pacemaker cases declined from 255 to 233 cases,

      yet generator replacement procedures increased from 55 to 68 procedures,

      representing 29.18 percent of cases.

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    170.       By 2007, total pacemaker cases declined further to 182 cases, yet

      generator replacement procedures remained at 68 procedures, representing

      37.36 percent of cases. Between 2004 and 2007, generator replacement

      procedures jumped from 21.57 percent of total cases to 37.36 percent of total

      cases.

    171.       In 2008, total pacemaker cases returned close to the level in 2004 at 255

      cases. Yet generator replacement procedures had moved from 55 procedures in

      2004 to 80 procedures in 2008.


      New York University Elaine and Kenneth G. Langone Medical Center
                                              

    172.       In the same New York CBSA, at Langone Medical Center, there were

      231 total pacemaker cases with 46 generator replacement procedures,

      representing 19.91 percent of the total cases in 2004.

    173.       In 2005 at Langone Medical Center, there were 206 total pacemaker

      cases with 35 generator replacement procedures, representing 16.99 percent of

      the cases.

    174.       In 2006 at Langone Medical Center, there were 181 total pacemaker

      cases with 39 generator replacement procedures, representing 21.55 percent of

      the cases.




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    175.    Yet in 2007, total pacemaker cases declined to a four-year low at 173,

      while generator replacement procedures climbed to a four-year high at 61

      procedures or 35.26 percent of the cases.

    176.    That escalation in generator replacement procedures continued into 2008

      with 269 total pacemaker cases and 107 generator replacement procedures or

      39.78 percent.


     Cluster Three in the Los Angeles-Long Beach-Santa Ana, California CBSA
 

    177.    Two hospitals in the Los Angeles-Long Beach-Santa Ana CBSA led the

      cluster with replacement rates repeatedly in excess of two standard deviations

      over cohort averages. Seven other hospitals within this CBSA experienced

      replacement rates repeatedly in excess of one standard deviation beyond cohort

      averages.


                       Providence Tarzana Medical Center
 

    178.    The replacement rates at Providence Tarzana Medical Center exceeded

      two standard deviations in 2005 and exceeded one standard deviation over the

      cohort averages in 2004, 2006, and 2007.

    179.    Providence Tarzana Medical Center had 173 total pacemaker cases in

      2004. Among these 173 cases, 45 procedures were for generator replacements



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      in pacemakers, representing 26 percent of total cases. The national average

      was 12.59 percent among all hospitals.

    180.     In 2005, among 187 total pacemaker cases, 76 procedures were for

      generator replacements, representing 40.64 percent of the cases. The national

      average of generator replacements as a percent of total pacemaker cases in

      2005 was 18 percent.

    181.     In 2006, among 190 total pacemaker cases, 62 procedures were for

      generator replacements, representing 32.63 percent of the cases. The national

      average of generator replacements as a percent of total pacemaker cases in

      2006 was 20 percent.

    182.     In 2007, among 200 total pacemaker cases, 73 procedures were for

      generator replacements, representing 36.50 percent of the cases. The national

      average of generator replacements as a percent of total pacemaker cases in

      2007 was 26 percent.

    183.      The five-year total of generator replacements as a percent of

      pacemaker cases at Providence Tarzana was 32.4 percent as compared to the

      national average of 20.2 percent.


                    Providence Saint Joseph Medical Center
                                            




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    184.    Within the same Los Angeles CBSA, the replacement rates at Saint

      Joseph Medical Center exceeded one standard deviation over cohort averages

      in 2004, 2005, and 2006.

    185.    In 2004, Providence Saint Joseph Medical Center had 159 total

      pacemaker cases. Among these 159 cases, 39 procedures were for generator

      replacements in pacemakers, representing 25 percent of cases as compared to

      the national average of 12.59 percent among all hospitals.

    186.     In 2005, among 121 total pacemaker cases, 40 procedures were for

      generator replacements, representing 33.06 percent of the cases. The national

      average of generator replacements as a percent of total pacemaker cases in

      2005 was 18 percent.

    187.    In 2006, among 127 total pacemaker cases, 42 procedures were for

      generator replacements, representing 33.07 percent of the cases. The national

      average of generator replacements as a percent of total pacemaker cases in

      2006 was 20 percent.

    188.     In 2007, among 95 total pacemaker cases, 34 procedures were for

      generator replacements, representing 35.79 percent of the cases.

    189.     In 2008, among 115 total pacemaker cases, 41 procedures were for

      generator replacements, representing 35.65 percent of the cases.




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    190.    The five-year rate of generator replacements as a percent of pacemaker

      cases at Providence Saint Joseph Medical Center was 31.8 percent as

      compared to the national average of 20.2 percent.


                          Cedars-Sinai Medical Center
 

    191.    Within the Los Angeles CBSA, the replacement rates at Cedars-Sinai

      Medical Center exceeded one standard deviation over cohort averages in 2005,

      2006, and 2007.

    192.    In 2004, Cedar-Sinai Medical Center had 480 total pacemaker cases.

      Among these 480 cases, 93 procedures were for generator replacements in

      pacemakers, representing 19 percent of cases as compared to the national

      average of 12.59 percent.

    193.     In 2005, among 430 total pacemaker cases, 145 procedures were for

      generator replacements, representing 33.72 percent of the cases. The national

      average of generator replacements as a percent of total pacemaker cases in

      2005 was 18 percent. Between 2004 and 2005, total pacemaker cases declined

      from 480 to 430 cases, yet generator replacement procedures surged from 93

      procedures in 2004 to 145 procedures in 2005.

    194.    In 2006, among 417 total pacemaker cases, 145 procedures were for

      generator replacements, representing 34.77 percent of the cases. The national


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      average of generator replacements as a percent of total pacemaker cases in

      2006 was 20 percent.

    195.     In 2007, among 367 total pacemaker cases, 149 procedures were for

      generator replacements, representing 34.65 percent of the cases as compared to

      the national average of 26 percent.

    196.    In 2008, among 404 total pacemaker cases, 140 procedures were for

      generator replacements, representing 35.65 percent of the cases.

    197.    In 2004, there were 480 total pacemaker cases and 93 replacement

      procedures. By 2007, total pacemaker cases declined by 113 while generator

      replacement procedures increased by 56.

    198.     Over the five year period from 2004-2008, the percentage of

      replacement procedures as compared to pacemaker cases at Cedars-Sinai

      Medical Center jumped from 19.38 percent in 2004 to 33.72 percent in 2005,

      34.77 percent in 2006, 40.60 percent in 2007, and 34.65 percent in 2008


                       Torrance Memorial Medical Center
                                              

    199.    Within the same Los Angeles CBSA, the replacement rates at Torrance

      Memorial Medical Center repeatedly exceeded two standard deviations beyond

      the cohort average in 2004, 2006, and 2007. In 2005, the replacement rates at




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      Torrance Memorial exceeded one standard deviation beyond the cohort

      average.

    200.    Torrance Memorial Medical Center had 110 total pacemaker cases in

      2004. Among these 110 cases, 38 procedures were for generator replacements

      in pacemakers, representing 35 percent of cases as compared to the national

      average of 12.59 percent among all hospitals.

    201.     In 2005, among 79 total pacemaker cases, 28 procedures were for

      generator replacements, representing 35.44 percent of the cases. The national

      average of generator replacements as a percent of total pacemaker cases in

      2005 was 18 percent.

    202.    In 2006, among 112 total pacemaker cases, 53 procedures were for

      generator replacements, representing 47.32 percent of the cases. The national

      average of generator replacements as a percent of total pacemaker cases in

      2006 was 20 percent.

    203.     In 2007, among 124 total pacemaker cases, 59 procedures were for

      generator replacements, representing 47.58 percent of the cases. The national

      average of generator replacements as a percent of total pacemaker cases in

      2007 was 26 percent.

    204.    In 2008, among 114 total pacemaker cases, 37 procedures were for

      generator replacements, representing 32.46 percent of the cases.


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    205.    The five-year rate of generator replacements as a percent of pacemaker

      cases at Torrance Memorial Medical Center was 39.9 percent as compared to

      the national average of 20.2 percent.


                              Hoag Memorial Hospital
 

    206.    In the same Los Angeles CBSA, Hoag Memorial Hospital experienced

      generator replacement rates in excess of one standard deviation in 2005, 2006,

      and 2008.

    207.    In 2004, there were 208 total pacemaker cases at Hoag Memorial

      Hospital. Among these 208 total cases, 28 procedures were for pacemaker

      generator replacements, representing 13.46 percent of the total cases which

      was close to the national average of 12.59 percent.

    208.    In 2005, there were 197 total pacemaker cases at Hoag Memorial

      Hospital. Among these 197 total cases, 61 procedures were for pacemaker

      generator replacements, representing 30.96 percent of the cases as compared to

      the national average of 18 percent.

    209.    Between 2004 and 2005, total pacemaker cases remained stable, yet

      replacement procedures more than doubled, moving from 13.46 percent of

      total cases in 2004 to 30.96 percent of total cases in 2005.




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    210.    In 2006, there were 212 total pacemaker cases at Hoag Memorial

      Hospital. Among these 212 total cases, 74 procedures were for pacemaker

      generator replacements, representing 34.91 percent of the total cases as

      compared to the national average of 20 percent.

    211.    In 2007, there were 204 total pacemaker cases at Hoag Memorial

      Hospital. Among these 204 total cases, 69 procedures were for pacemaker

      generator replacements, representing 33.82 percent of the cases.

    212.    In 2008, there were 175 total pacemaker cases at Hoag Memorial

      Hospital. Among these 175 total cases, 67 procedures were for pacemaker

      generator replacements, representing 38.29 percent of the cases.

    213.    Between 2004 and 2008, generator replacement procedures jumped from

      13.46 percent of total cases to 38.29 percent of total cases at Hoag Memorial

      Hospital.


                                Methodist Hospital
 

    214.    In the same Los Angeles CBSA, the replacement rates at Methodist

      Hospital exceeded one standard deviation in only one year (2008); however,

      the jumps in replacement procedures provide further evidence of the cluster.

    215.    In 2004, there were 121 total pacemaker cases at Methodist Hospital.

      Among these 121 total cases, 24 procedures were for pacemaker generator


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      replacements, representing 19.83 percent of the cases as compared to the

      national average of 12.59 percent.

    216.     In 2005, there were 122 total pacemaker cases at Methodist Hospital.

      Among these 122 total cases, 26 procedures were for pacemaker generator

      replacements, representing 21.31 percent of the total cases.

    217.    In 2006, there were 113 total pacemaker cases at Methodist Hospital.

      Among these 113 total cases, only 15 procedures were for pacemaker generator

      replacements, representing 13.27 percent of the total cases.

    218.    Yet in 2007, among 143 total pacemaker cases, 46 procedures were for

      pacemaker generator replacements, representing 32.17 percent of the cases. In

      a single year, generator replacement procedures moved from 13.27 percent to

      32.17 percent of total pacemaker cases at Methodist Hospital.

    219.    The escalation in replacement procedures continued in 2008. In 2008,

      there were 161 total pacemaker cases at Methodist Hospital. Among these 161

      total cases, 64 procedures were for pacemaker generator replacements,

      representing 39.75 percent of the cases. Between 2006 and 2008, generator

      replacement procedures moved from 13.27 percent of total cases to 39.75

      percent of total cases at Methodist Hospital.


             Cluster Four in Louisville-Jefferson County, Ky-In CBSA
 



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    220.     Mr. Stokes’ analyses reveal a three-hospital cluster from the Louisville

      CBSA led by Baptist Hospital East which repeatedly experienced replacement

      rates in excess of one or two standard deviations over the cohort averages. In

      2004, 2005, 2006, and 2008, Baptist Hospital East experienced replacement

      rates in excess of one standard deviation beyond the cohort average. In 2007,

      Baptist Hospital East’s replacement rates exceeded two standard deviations.


                               Baptist Hospital East
 

    221.    In 2004, Baptist Hospital East had 283 total pacemaker cases. Among

      these 283 cases, 63 procedures were for generator replacements in pacemakers,

      representing 22 percent of cases as compared to the national average of 12.59.

    222.     In 2005, among 286 total pacemaker cases, 96 procedures were for

      generator replacements, representing 33.57 percent of the cases. The national

      average of generator replacements as a percent of total pacemaker cases in

      2005 was 18 percent.

    223.    In 2006, among 294 total pacemaker cases, 109 procedures were for

      generator replacements, representing 37.07 percent of the cases. The national

      average of generator replacements as a percent of total pacemaker cases in

      2006 was 20 percent.




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    224.    In 2007, among 277 total pacemaker cases, 148 procedures were for

      generator replacements, representing 53.43 percent of the cases as compared to

      the national average of 26 percent.

    225.    Between 2004 and 2007, total pacemaker cases slightly declined from

      283 to 277, yet replacement procedures escalated from 63 to 148 procedures.

    226.    Between 2004 and 2007, replacement procedures moved from 22

      percent of total cases in 2004 to 53.43 percent of cases in 2007.

    227.    In 2008, among 259 total pacemaker cases, 105 procedures were for

      generator replacements, representing 40.54 percent of the cases as compared to

      the national average of 28 percent.

    228.    The five-year rate of generator replacements as a percent of pacemaker

      cases at Baptist Hospital East was 37.2 percent as compared to the national

      average of 22.28 percent.


                       Jewish Hospital and Norton Hospital
 

    229.    In the same Louisville CBSA is Jewish Hospital and Norton Hospital

      which both repeatedly experienced replacement rates in excess of one standard

      deviation beyond cohort averages.




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    230.    At Jewish Hospital, replacement rates moved from 15.62 percent of total

      cases in 2004 to 31.52 percent of total cases in 2005, 30.71 percent in 2006,

      30.95 percent in 2007, and 33.65 percent in 2008.

    231.    The replacement rates at Norton Hospital exceeded one standard

      deviation every year except 2005. The replacement rate percents at Norton

      Hospital were 26.56 of total cases in 2004, 28.49 percent in 2005, 30.47

      percent in 2006, 40.34 percent in 2007, and 38.30 percent in 2008.


             Adjacent Facilities with Excessive Replacement Rates
                                           

    232.    Close to the cluster in the Louisville CBSA is Owensboro Medical

      Center which experienced generator replacement rates in excess of one

      standard deviation over cohort averages in 2004, 2005, and 2006.

    233.    Also close to the Louisville cluster is Kettering Medical Center where

      generator replacement rates moved from 17.56 percent of total cases in 2004 to

      40.40 percent of total cases in 2008. Comparing 2004 and 2008 at Kettering

      Medical Center, total cases remained stable with 205 cases in 2004 and 198

      cases in 2008.     Yet generator replacement procedures surged from 35

      procedures in 2004 to 80 procedures in 2008.


             Cluster Five in the Birmingham-Hoover, Alabama CBSA
 




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    234.    In 2004 and 2007, the replacement rates at Trinity Medical Center

      exceeded two standard deviations over the cohort average. In 2005 and 2006,

      the replacement rates at Trinity Medical exceeded one standard deviation over

      the cohort average.    Within the same Birmingham-Hoover CBSA, Trinity

      Medical Center is joined by two other facilities which repeatedly experienced

      replacement rates in excess of one or two standard deviations over cohort

      averages.


                              Trinity Medical Center
                                          

    235.    In 2004, Trinity Medical Center had 225 total pacemaker cases. Among

      these 225 cases, 65 procedures were for generator replacements in pacemakers,

      representing 29 percent of cases as compared to the national average of 12.59

      percent among all hospitals.

    236.    In 2005, among 186 total pacemaker cases, 54 procedures were for

      generator replacements, representing 29.03 percent of the cases. The national

      average of generator replacements as a percent of total pacemaker cases in

      2005 was 18 percent.

    237.    In 2006, among 155 total pacemaker cases, 58 procedures were for

      generator replacements, representing 37.42 percent of the cases. The national




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      average of generator replacements as a percent of total pacemaker cases in

      2006 was 20 percent.

    238.     In 2007, among 146 total pacemaker cases, 78 procedures were for

      generator replacements, representing 53.42 percent of the cases as compared to

      the national average of 26 percent.

    239.    Between 2005 and 2007, generator replacement rates at Trinity Medical

      Center moved from 29.03 percent to 53.42 percent of total pacemaker cases.

    240.    In 2008, among 142 total pacemaker cases, 52 procedures were for

      generator replacements, representing 36.62 percent of the cases as compared to

      the national average of 28 percent.

    241.    The five-year rate of generator replacements as a percent of pacemaker

      cases at Trinity Medical Center was 35.9 percent as compared to the national

      average of 20.2 percent.


                             Princeton Baptist Hospital
                                              

    242.    Within the same Birmingham CBSA, Princeton Baptist Hospital’s

      replacement rates exceeded one standard deviation in both 2004 and 2005 and

      exceeded two standard deviations in 2006.

    243.    Princeton Baptist Hospital had 157 total pacemaker cases in 2004.

      Among these 157 cases, at least 42 procedures were for generator replacements


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      in pacemakers, representing 27 percent of cases as compared to the national

      average of 12.59.

    244.    In 2005, among 135 total pacemaker cases, 50 procedures were for

      generator replacements, representing 37.04 percent of the cases. The national

      average of generator replacements as a percent of total pacemaker cases in

      2005 was 18 percent.

    245.    In 2006, among 119 total pacemaker cases, 47 procedures were for

      generator replacements, representing 39.50 percent of the cases. The national

      average of generator replacements as a percent of total pacemaker cases in

      2006 was 20 percent.


                     UAB Hospital---Birmingham, Alabama
                                           

    246.    Within the same Birmingham CBSA, UAB Hospital had 103 total

      pacemaker cases in 2004. Among these 103 cases, 25 procedures were for

      generator replacements in pacemakers, representing 24 percent of cases as

      compared to the national average of 12.59 percent among all hospitals.

    247.    In 2005, among 118 total pacemaker cases, 45 procedures were for

      generator replacements, representing 38.14 percent of the cases. The national

      average of generator replacements as a percent of total pacemaker cases in

      2005 was 18 percent.


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    248.    In 2006, among 151 total pacemaker cases, 54 procedures were for

      generator replacements, representing 35.76 percent of the cases. The national

      average of generator replacements as a percent of total pacemaker cases in

      2006 was 20 percent.

    249.    In 2007, among 162 total pacemaker cases, 47 procedures were for

      generator replacements, representing 29.01 percent of the cases.

    250.    In 2008, among 109 total pacemaker cases, 40 procedures were for

      generator replacements, representing 36.70 percent of the cases.

    251.    The five-year rate of generator replacements as a percent of pacemaker

      cases at UAB Hospital was 32.8 percent as compared to the national average of

      20.2 percent.


           Cluster Six in the Sarasota-Bradenton-Venice, Florida CBSA
                                           

                         Venice Regional Medical Center
                                           
    252.    The Sarasota-Bradenton-Venice CBSA includes one hospital with

      generator replacement rates in excess of two standard deviations beyond cohort

      averages and two other facilities with replacement rates which have repeatedly

      exceeded one standard deviation beyond cohort averages.

    253.    Venice Regional Medical Center experienced generator replacement

      rates in excess of two standard deviations over the cohort average in 2005.

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    254.    Venice Regional Medical Center had 180 total pacemaker cases in 2004.

      Among these 180 cases, at least 45 procedures were for generator replacements

      in pacemakers, representing 25 percent of cases as compared to the national

      average of 12.59 percent among all hospitals.

    255.     In 2005, among 154 total pacemaker cases, 63 procedures were for

      generator replacements, representing 40.91 percent of the cases. The national

      average of generator replacements as a percent of total pacemaker cases in

      2005 was 18 percent. In 2005, Venice Regional’s rate of generator

      replacements as a percent of total pacemaker cases was over double the

      national average.

    256.     In 2006, among 166 total pacemaker cases, 60 procedures were for

      generator replacements, representing 36.14 percent of the cases. The national

      average of generator replacements as a percent of total pacemaker cases in

      2006 was 20 percent.

    257.     In 2007, among 193 total pacemaker cases, 64 procedures were for

      generator replacements, representing 33.16 percent of the cases. The national

      average of generator replacements as a percent of total pacemaker cases in

      2007 was 26 percent.

    258.      In 2008, among 192 total pacemaker cases, 67 procedures were for

      generator replacements, representing 34.90 percent of the cases. The national


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      average of generator replacements as a percent of total pacemaker cases in

      2008 was 28 percent.

    259.      The five-year total of generator replacements as a percent of

      pacemaker cases at Venice Regional Medical Center was 33.8 percent as

      compared to the national average of 20.2 percent.


                             Sarasota Memorial Hospital
                                           

    260.    Within the same CBSA in close proximity to Venice Regional Medical

      Center is Sarasota Memorial Hospital which experienced generator

      replacement rate in excess of one standard deviation over cohort averages for

      five consecutive years: 2004, 2005, 2006, 2007, and 2008.

    261.     Sarasota Memorial Hospital had 586 total pacemaker cases in 2004.

      Among these 586 cases, at least 129 procedures were for generator

      replacements in pacemakers, representing 22 percent of cases as compared to

      the national average of 12.59 percent among all hospitals.

    262.     In 2005, among 509 total pacemaker cases, 166 procedures were for

      generator replacements, representing 32.61 percent of the cases. The national

      average of generator replacements as a percent of total pacemaker cases in

      2005 was 18 percent.




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    263.     In 2006, among 438 total pacemaker cases, 157 procedures were for

      generator replacements, representing 35.84 percent of the cases. The national

      average of generator replacements as a percent of total pacemaker cases in

      2006 was 20 percent.

    264.     In 2007, among 483 total pacemaker cases, 197 procedures were for

      generator replacements, representing 40.79 percent of the cases. The national

      average of generator replacements as a percent of total pacemaker cases in

      2007 was 26 percent.

    265.    Between 2004 and 2007, replacement rates at Sarasota Memorial

      Hospital surged from 22 percent of total cases in 2004 to 40.79 percent of total

      cases in 2007.

    266.    Between 2004 and 2007, total pacemaker cases declined from 586 to

      493 cases, yet generator replacement procedures escalated from 129 to 197

      procedures at Sarasota Memorial Hospital.

    267.    In 2008, among 427 total pacemaker cases, 167 procedures were for

      generator replacements, representing 39.11 percent of the cases. The national

      average of generator replacements as a percent of total pacemaker cases in

      2008 was 28 percent.




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    268.    The five-year total of generator replacements as a percent of pacemaker

      cases at Sarasota Memorial Hospital was 33.4 percent as compared to the

      national average of 20.2 percent.


                           Manatee Memorial Hospital
                                            

    269.    Within the same CBSA and in close proximity, Manatee Memorial

      Hospital also experienced a significant surge in replacement procedures,

      moving from 12.22 percent of total pacemaker cases in 2004 to 20.2 percent in

      2005, 30.83 percent in 2006, 39.26 percent in 2007, and 38.94 percent in 2008.


                  Cluster Seven in Cape Coral-Fort Myers CBSA



             Lee Memorial Hospital and Gulf Coast Medical Center
                                            

    270.     In close proximity to the cluster in the Sarasota-Bradenton-Venice

      CBSA is another cluster in the Cape Coral-Fort Myers CBSA. Lee Memorial

      Hospital and Gulf Coast Medical Center are both part of the Lee Memorial

      Health System. For four of the five years, Lee Memorial Hospital experienced

      replacement rates in excess of one standard deviation over cohort averages.

      Gulf Coast Medical Center’s replacement rates exceeded one standard

      deviation in 2007 and two standard deviations in 2008.




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    271.    For example, Lee Memorial Hospital had 283 total pacemaker cases in

      2004. Among these 283 cases, at least 80 procedures were for generator

      replacements in pacemakers, representing 28 percent of cases as compared to

      the national average of 12.59 percent among all hospitals.

    272.    In 2005, among 291 total pacemaker cases, 88 procedures were for

      generator replacements, representing 30.24 percent of the cases. The national

      average of generator replacements as a percent of total pacemaker cases in

      2005 was 18 percent.

    273.     In 2006, among 265 total pacemaker cases, 88 procedures were for

      generator replacements, representing 33.21 percent of the cases. The national

      average of generator replacements as a percent of total pacemaker cases in

      2006 was 20 percent.

    274.     In 2007, among 288 total pacemaker cases, 111 procedures were for

      generator replacements, representing 38.54 percent of the cases. The national

      average of generator replacements as a percent of total pacemaker cases in

      2007 was 26 percent.

    275.    In close proximity to Lee Memorial Hospital, Gulf Coast Medical

      Center’s replacement rates moved from 11.76 percent of total cases in 2004, to

      19.78 percent in 2005, 22.81 percent in 2006, 37.98 percent in 2007, and 65

      percent in 2008.


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           Cluster Eight in Santa Barbara –Santa Maria, California CBSA
 

    276.      Mr. Stokes’ investigation and analyses reveal another cluster in the

      Santa Barbara-Santa Maria, California CBSA.


                          Santa Barbara Cottage Hospital
                                           

    277.       The replacement rates at Santa Barbara Cottage Hospital have

      repeatedly exceeded one or two standard deviations over cohort averages for

      five consecutive years: 2004, 2005, 2006, 2007, and 2008. In 2005 and 2008,

      the replacement rates at Santa Barbara Cottage Hospital exceeded two standard

      deviations. In 2004, 2006, and 2007, the replacement rates at Santa Barbara

      Cottage Hospital exceeded one standard deviation.

    278.      Santa Barbara Cottage Hospital had 284 total pacemaker cases in 2004.

      Among these 284 cases, at least 67 procedures were for generator replacements

      in pacemakers, representing 23.59 percent of cases as compared to the national

      average of 12.59 percent among all hospitals. In 2004, Santa Barbara Cottage

      Hospital’s rate of generator replacements as a percent of total pacemaker cases

      was nearly double the national average among all hospitals.

    279.        In 2005, among 207 total pacemaker cases, 79 procedures at Santa

      Barbara Cottage Hospital were for generator replacements, representing 38.16

      percent of the cases. The national average among all hospitals of generator

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      replacements as a percent of total pacemaker cases in 2005 was 18 percent. In

      2005, Santa Barbara Cottage Hospital’s rate of generator replacements as a

      percent of total pacemaker cases was again double the national average.

    280.    In 2006, among 238 total pacemaker cases, 77 procedures were for

      generator replacements, representing 32.35 percent of the cases. The national

      average of generator replacements as a percent of total pacemaker cases in

      2006 was 20 percent.

    281.     In 2007, among 271 total pacemaker cases, 121 procedures were for

      generator replacements, representing 44.65 percent of the cases. The national

      average of generator replacements as a percent of total pacemaker cases in

      2007 was 26 percent.

    282.    Between 2004 and 2007, total pacemaker cases at Santa Barbara Cottage

      Hospital declined slightly from 284 to 271 cases, yet generator replacement

      procedures nearly doubled from 67 to 121 procedures.

    283.      In 2008, among 198 total pacemaker cases, 98 procedures were for

      generator replacements, representing 49.49 percent of the cases. The national

      average of generator replacements as a percent of total pacemaker cases in

      2008 was 28 percent.




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    284.    The five-year total of generator replacements as a percent of pacemaker

      cases at Santa Barbara Cottage Hospital was 36.89 percent as compared to the

      national average of 20.2 percent.


                              Marian Medical Center
                                            

    285.    In the same CBSA is Marian Medical Center which experienced

      replacement rates in excess of one standard deviation in 2006 and in excess of

      two standard deviations in 2007. Between 2004 and 2008, replacement rates at

      Marian Medical Center moved from 16.10 percent of total cases in 2004 to

      22.22 percent in 2005, 35.19 percent in 2006, 50.36 percent in 2007 and 35.48

      percent in 2008.

    286.    In 2004, there were 135 total pacemaker cases with 22 generator

      replacement procedures at Marian Medical Center. By 2007, total pacemaker

      cases remained stable at 137 as compared to 135 in 2004. Yet in 2007,

      generator replacement procedures surged to 69 procedures as compared to 22

      procedures in 2004.


                            Bakersfield Heart Hospital
                                            

    287.    In close proximity to Marian Medical Center and Santa Barbara Cottage

      Hospital but in a different CBSA, Bakersfield Heart Hospital experienced

      replacement rates replacement rates in excess of one standard deviation in

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      2004 and 2005 and in excess of two standard deviations in both 2006 and

      2007.

    288.      In 2004 Bakersfield Heart Hospital had 151 total pacemaker cases.

      Among these 151 cases, 37 procedures were for generator replacements in

      pacemakers, representing 25 percent of cases as compared to the national

      average of 12.59 percent.

    289.      In 2005, among 110 total pacemaker cases, 37 procedures were for

      generator replacements, representing 33.64 percent of the cases. The national

      average of generator replacements as a percent of total pacemaker cases in

      2005 was 18 percent.

    290.      In 2006, among 114 total pacemaker cases, 56 procedures were for

      generator replacements, representing 49.12 percent of the cases. The national

      average of generator replacements as a percent of total pacemaker cases in

      2006 was 20 percent.

    291.      In 2007, among 122 total pacemaker cases, 63 procedures were for

      generator replacements, representing 51.64 percent of the cases as compared to

      the national average of 26 percent.

    292.      Between 2004 and 2007, total pacemaker cases declined from 151 cases

      in 2004 to 122 cases in 2007. Yet generator replacement procedures surged

      from 37 procedures in 2004 to 63 procedures in 2007.


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    293.    In 2008, among 110 total pacemaker cases, 40 procedures were for

      generator replacements, representing 36.36 percent of the cases as compared to

      the national average of 28 percent.

    294.    The five-year rate of generator replacements as a percent of pacemaker

      cases at Bakersfield Heart Hospital was 38.4 percent as compared to the

      national average of 22.28 percent.

    295.     The five-year total generator replacement percent at Bakersfield Heart

      Hospital was 38.4 percent as compared to the national average of 20.2 percent.




                          Bakersfield Memorial Hospital
                                              

    296.     Within the same town and CBSA as Bakersfield Heart Hospital, the

      five-year total generator replacement percent at Bakersfield Memorial Hospital

      was also 38.4 percent as compared to the national average of 20.2 percent.

      Bakersfield Memorial Hospital did not reach the 500 threshold for total

      pacemaker cases over the 5 year period so it was not included in the cohort.

      Yet the surge in replacement procedures is significant.

    297.     In 2004, Bakersfield Memorial Hospital had 102 total pacemaker cases.

      Among these 102 cases, 23 procedures were for generator replacements in

      pacemakers, representing 23 percent of cases as compared to the national

      average of 12.59 percent.
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    298.    In 2005, among 96 total pacemaker cases, 42 procedures were for

      generator replacements, representing 43.75 percent of the cases. The national

      average of generator replacements as a percent of total pacemaker cases in

      2005 was 18 percent.

    299.    In 2006, among 110 total pacemaker cases, 47 procedures were for

      generator replacements, representing 42.73 percent of the cases. The national

      average of generator replacements as a percent of total pacemaker cases in

      2006 was 20 percent.

    300.    Between 2004 and 2006, total pacemaker cases remained stable at 102

      cases in 2004 and 110 cases in 2006. Yet generator replacement procedures

      doubled from 23 procedures in 2004 to 47 procedures in 2006.

    301.     In 2007, among 85 total pacemaker cases, 29 procedures were for

      generator replacements, representing 34.12 percent of the cases as compared to

      the national average of 26 percent.

    302.    In 2008, among 60 total pacemaker cases, 33 procedures were for

      generator replacements, representing 55 percent of the cases as compared to

      the national average of 28 percent.

    303.    The five-year rate of generator replacements as a percent of pacemaker

      cases at Bakersfield Memorial was 38.4 percent as compared to the national

      average of 20.2 percent.


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                       Cluster Nine in Tucson Arizona CBSA
 

                              Tucson Heart Hospital
                                           

    304.    Tucson Heart Hospital experienced replacement rates in excess of two

      standard deviations beyond the cohort average in 2006 and 2007 and exceeded

      one standard deviation beyond the cohort average in 2008.

    305.    In 2004, Tucson Heart Hospital had 283 total pacemaker cases. Among

      these 283 cases, 55 procedures were for generator replacements, representing

      19 percent of cases as compared to the national average of 12.59 percent.

    306.     In 2005, among 167 total pacemaker cases, 46 procedures were for

      generator replacements, representing 27.54 percent of the cases. The national

      average of generator replacements as a percent of total pacemaker cases in

      2005 was 18 percent.

    307.    In 2006, among 214 total pacemaker cases, 94 procedures were for

      generator replacements, representing 43.93 percent of the cases. The national

      average of generator replacements as a percent of total pacemaker cases in

      2006 was 20 percent.

    308.    Between 2004 and 2006, total pacemaker cases declined from 283 cases

      in 2004 to 214 cases in 2006. Yet generator replacement procedures surged

      from 55 procedures in 2004 to 94 procedures in 2006.


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    309.     In 2007, among 226 total pacemaker cases, 104 procedures were for

      generator replacements, representing 46.02 percent of the cases as compared to

      the national average of 26 percent.

    310.     Between 2004 and 2007, total pacemaker cases at Tucson Heart

      Hospital declined from 283 to 226 cases, yet generator replacement procedures

      surged from 55 to 104 procedures.

    311.     In 2008, among 201 total pacemaker cases, 92 procedures were for

      generator replacements, representing 45.77 percent of the cases as compared to

      the national average of 28 percent.

    312.     The five-year rate of generator replacements as a percent of pacemaker

      cases at Tucson Heart Hospital was 35.8 percent as compared to the national

      average of 20.2 percent.


             Northwest Medical Center and Tucson Medical Center
                                              

    313.     Within the same Tucson CBSA, Northwest Medical Center experienced

      replacement rates in excess of one standard deviation over the cohort average

      in 2004, 2005, and 2006.

    314.    Northwest Medical Center had 114 total pacemaker cases in 2004.

      Among these 114 cases, 29 procedures were for generator replacements in




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      pacemakers, representing 22 percent of cases as compared to the national

      average of 12.59 percent.

    315.    In 2005, among 129 total pacemaker cases, 48 procedures were for

      generator replacements, representing 37.21 percent of the cases. The national

      average of generator replacements as a percent of total pacemaker cases in

      2005 was 18 percent.

    316.     In 2006, among 98 total pacemaker cases, 37 procedures were for

      generator replacements, representing 37.76 percent of the cases. The national

      average of generator replacements as a percent of total pacemaker cases in

      2006 was 20 percent.

    317.     In 2007, among 108 total pacemaker cases, 36 procedures were for

      generator replacements, representing 33.33 percent of the cases. The national

      average of generator replacements as a percent of total pacemaker cases in

      2007 was 26 percent.

    318.    In 2008, among 87 total pacemaker cases, 27 procedures were for

      generator replacements, representing 31.03 percent of the cases.

    319.    The five-year rate of generator replacements as a percent of pacemaker

      cases at Northwest Medical Center was 32.28 percent as compared to the

      national average of 20.2 percent.




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                              Tucson Medical Center
 

    320.    In the same Tucson CBSA, Tucson Medical Center experienced

      generator replacement rates in excess of one standard deviation in 2006. The

      replacement rates at Tucson Medical Center moved from 21.32 percent of total

      cases in 2004 to 22.94 percent of total cases in 2005, 38.46 percent in 2006,

      and 35.56 percent in 2007.



    Additional Clusters Appear in CBSAs Located in Close Proximity to Each
                          Other Within State Regions


           Cluster Ten in CBSAs Located in Central Coast California
                                            
    321.    Additional clusters appear in CBSAs located in close proximity to each

      other within state regions. Such a cluster emerges in coastal central California

      where four hospitals have repeatedly experienced replacement rates in excess

      of one or two standard deviations beyond cohort averages.


                            Santa Rosa Medical Center
                                            

    322.    In 2004 at Santa Rosa Medical Center, there were 236 total pacemaker

      cases. Among these 236 total cases, there were 36 generator replacement

      procedures, representing 16.12 percent of the total cases.



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    323.    In 2005 at Santa Rosa Medical Center, there were 212 total pacemaker

      cases. Among these 212 total cases, there were 69 generator replacement

      procedures, representing 32.55 percent of the total cases. In single year total

      cases declined from 236 to 216, yet generator replacement procedures nearly

      doubled in number from 36 procedures in 2004 to 69 procedures to 2005.

    324.    In 2006 at Santa Rosa Medical Center, there were 225 total pacemaker

      cases. Among these 225 total cases, there were 80 generator replacement

      procedures, representing 35.56 percent of the total cases.

    325.    In 2007 at Santa Rosa Medical Center, there were 198 total pacemaker

      cases. Among these 198 total cases, there were 90 generator replacement

      procedures, representing 45.45 percent of the cases.

    326.    In 2008 at Santa Rosa Medical Center, there were 176 total pacemaker

      cases. Among these 176 total cases, there were 74 generator replacement

      procedures, representing 42.05 percent of the cases.

    327.    Between 2004 and 2007, total cases declined from 236 to 198; however,

      generator replacement procedures nearly tripled in number. Between 2004 and

      2007, generator replacement procedures moved from 16.12 percent of cases in

      2004 to 45.45 percent of cases in 2007.


                               Saint Helena Hospital
                                            



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    328.    In 2004 at Saint Helena Hospital, there were 166 total pacemaker cases.

      Among these 166 total cases, there were 30 generator replacement procedures,

      representing 16.07 percent of the total cases.

    329.    In 2005 at Saint Helena Hospital, there were 108 total pacemaker cases.

      Among these 108 total cases, there were 25 generator replacement procedures,

      representing 23.05 percent of the total cases.

    330.    In 2006 at Saint Helena Hospital, there were 121 total pacemaker cases.

      Among these 121 total cases, there were 39 generator replacement procedures,

      representing 32.23 percent of the total cases.

    331.    In 2007 at Saint Helena Hospital, there were 119 total pacemaker cases.

      Among these 119 total cases, there were 53 generator replacement procedures,

      representing 44.54 percent of the cases.

    332.    Between 2004 and 2007, generator replacement procedures jumped from

      16.02 percent of total cases in 2004 to 44.54 percent of total cases in 2007.

      Between 2004 and 2007, while total cases declined from 166 cases in 2004 to

      119 cases in 2007, generator replacement procedures surged from 30

      procedures in 2004 to 53 procedures in 2007.

    333.    In 2008 at Saint Helena Hospital, there were 121 total pacemaker cases.

      Among these 121 total cases, there were 43 generator replacement procedures,

      representing 35.54 percent of the cases.


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                                 O’Connor Hospital
                                            

    334.    In 2004 at O’Connor Hospital, there were 100 total pacemaker cases.

      Among these 100 total cases, there were 14 generator replacement procedures,

      representing 14 percent of the total cases.

    335.    In 2005 at O’Connor Hospital, there were 99 total pacemaker cases.

      Among these 99 total cases, there were 27 generator replacement procedures,

      representing 27.27 percent of the total cases.

    336.    In 2006 at O’Connor Hospital, there were 139 total pacemaker cases.

      Among these 139 total cases, there were 38 generator replacement procedures,

      representing 27.34 percent of the total cases.

    337.    In 2007 at O’Connor Hospital, there were 140 total pacemaker cases.

      Among these 140 total cases, there were 64 generator replacement procedures,

      representing 45.71 percent of the cases.

    338.    In 2008 at O’Connor Hospital, there were 120 total pacemaker cases.

      Among these 120 total cases, there were 40 generator replacement procedures,

      representing 33.33 percent of the cases.

    339.    Between 2004 and 2007, generator replacement procedures moved from

      14 percent of cases in 2004 to 45.71 percent of cases in 2007.




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    340.    Between 2004 and 2007, generator replacement procedures jumped from

      14 procedures in 2004 to 64 procedures in 2007. Generator replacement

      procedures grew by 450 percent while total cases grew by only 40 percent.


                         Salinas Valley Memorial Hospital
                                            

    341.    Within the same vicinity in central coastal California, at Salinas Valley

      Memorial Hospital, there were 212 total pacemaker cases in 2004. Among

      these 212 total cases, there were 42 generator replacement procedures,

      representing 19.81 percent of the total cases.

    342.    In 2005 at Salinas Valley Memorial Hospital, there were 185 total

      pacemaker cases. Among these 185 total cases, there were 35 generator

      replacement procedures, representing 18.92 percent of the total cases.

    343.    In 2006 at Salinas Valley Memorial Hospital, there were 158 total

      pacemaker cases. Among these 158 total cases, there were 59 generator

      replacement procedures, representing 37.34 percent of the total cases.

    344.    In 2007 at Salinas Valley Memorial Hospital, there were 157 total

      pacemaker cases. Among these 157 total cases, there were 55 generator

      replacement procedures, representing 35.03 percent of the cases.




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    345.      In 2008 at Santa Rosa Medical Center, there were 186 total pacemaker

      cases. Among these 186 total cases, there were 93 generator replacement

      procedures, representing 50 percent of the cases.

    346.      Between 2004 and 2008, generator replacement procedures moved from

      19.18 percent of total cases in 2004 to 50 percent of total cases in 2008.

      Between 2004 and 2008, total cases declined slightly from 212 cases in 2004

      to 186 cases in 2008. Yet generator replacement procedures surged from 42

      procedures in 2004 to 93 procedures in 2008.


                           Cluster Eleven in Mississippi
                                           

    347.      Another cluster appears in Mississippi. Forrest General Hospital in

      Hattiesburg, Mississippi repeatedly experienced replacement rates in excess of

      one standard deviation beyond the cohort average in 2005, 2006, 2007, and

      2008.

    348.      In close proximity to Forrest General is Baptist Memorial Hospital---

      North Mississippi. In 2007 and 2008, Baptist Memorial Hospital-North

      Mississippi experienced replacement rates in excess of 2 standard deviations

      beyond the cohort average. In 2006, the replacement rates at Baptist Memorial

      Hospital exceeded one standard deviation beyond the cohort average.




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                      Forrest General Hospital, Mississippi
 
    349.    Between 2004 and 2008, generator replacement rates at Forest General

      moved from 13.59 percent of total cases in 2004 to 32.64 percent in 2005,

      37.22 percent in 2006, 38.95 percent in 2007, and 48.17 percent in 2008.

    350.    Between 2004 and 2008 total annual pacemaker cases remained stable

      with an average 192 cases per year. Yet replacement procedures at Forrest

      General Hospital surged from 28 procedures in 2004 to 92 procedures in 2008.

    351.    In 2004, Forrest General Hospital had 206 total pacemaker cases.

      Among these 206 cases, 28 procedures were for generator replacements in

      pacemakers, representing 13.59 percent of cases which was close to the

      national average of 12.59 percent among all hospitals.

    352.     In 2005, among 193 total pacemaker cases, 63 procedures were for

      generator replacements, representing 32.64 percent of the cases. The national

      average of generator replacements as a percent of total pacemaker cases in

      2005 was 18 percent.

    353.    In 2006, among 180 total pacemaker cases, 67 procedures were for

      generator replacements, representing 37.22 percent of the cases. The national

      average of generator replacements as a percent of total pacemaker cases in

      2006 was 20 percent.



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    354.    In 2007, among 190 total pacemaker cases, 74 procedures were for

      generator replacements, representing 38.95 percent of the cases as compared to

      the national average of 26 percent.

    355.    In 2008, among 191 total pacemaker cases, 92 procedures were for

      generator replacements, representing 48.17 percent of the cases as compared to

      the national average of 28 percent.

    356.     Between 2004 and 2008, total pacemaker cases at Forrest General

      declined from 206 to 191 cases, yet replacement procedures surged from 28 to

      92 procedures.

    357.    The five-year rate of generator replacements as a percent of pacemaker

      cases at Forrest General Hospital was 33.8 percent as compared to the national

      average of 20.2 percent.


                  Baptist Memorial Hospital North Mississippi
                                              

    358.    In 2004, Baptist Memorial Hospital had 165 total pacemaker cases.

      Among these 165 cases, only 5 procedures were for generator replacements in

      pacemakers, representing 3 percent of cases which was below the national

      average of 12.59 percent among all hospitals.

    359.     In 2005, among 68 total pacemaker cases, only 1 procedure was for a

      generator replacement, representing 1.4 percent of the cases.


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    360.      In 2006, among 59 total pacemaker cases, 22 procedures were for

      generator replacements, representing 37.29 percent of the cases. The national

      average of generator replacements as a percent of total pacemaker cases in

      2006 was 20 percent.

    361.      In 2007, among 107 total pacemaker cases, 55 procedures were for

      generator replacements, representing 51.40 percent of the cases as compared to

      the national average of 26 percent.

    362.      In 2008, among 114 total pacemaker cases, 56 procedures were for

      generator replacements, representing 49.12 percent of the cases as compared to

      the national average of 28 percent.

    363.      Comparing 2004 and 2008, total pacemaker cases at Baptist Memorial

      Hospital declined from 165 cases in 2004 to 114 cases in 2008, yet

      replacement procedures surged from 5 procedures in 2004 to 56 procedures in

      2008.

    364.      Between 2004 and 2008, the generator replacement rate at Baptist

      Memorial moved from 3 percent of total cases in 2004 to 49 percent of total

      cases in 2008.


                    Saint Dominic-Jackson Memorial Hospital
                                              




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    365.      Another Mississippi location provides further evidence of the cluster.

      Although replacement rates at Saint Dominic-Jackson Memorial Hospital

      exceeded one standard deviation in only one of the five years (2007), the

      jumps in replacement rates are significant.

    366.      In 2004, Saint Dominic had 160 total pacemaker cases. Among these

      160 cases, only 7 procedures were for generator replacements in pacemakers,

      representing 4.38 percent of cases.

    367.       In 2005, among 97 total pacemaker cases, there were 22 generator

      replacements, representing 22.68 percent of the cases.

    368.      In 2006, among 98 total pacemaker cases, 11 procedures were for

      generator replacements, representing 11.22 percent of the cases. The national

      average of generator replacements as a percent of total pacemaker cases in

      2006 was 20 percent.

    369.      Yet in 2007, among 127 total pacemaker cases, 49 procedures were for

      generator replacements, representing 38.58 percent of the cases. Between 2004

      and 2007, replacement procedure rates at Saint Dominic moved from 4.38 to

      38.58 percent of total cases. Comparing 2004 and 2007, total pacemaker cases

      declined from 160 cases in 2004 to 127 cases in 2007. Yet generator

      replacement procedures surged from 7 procedures in 2004 to 49 procedures in

      2007.


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                    Cluster Twelve on Nebraska/Iowa Border
                                           
    370.     In close proximity but in different CBSAs, two facilities on the Iowa-

      Nebraska border have repeatedly experienced replacement rates in excess of

      one or two standard deviations over the cohort average.


                      Creighton University Medical Center
                                           

    371.    The replacement rates at Creighton University Medical Center exceeded

      two standard deviations in 2004 and exceeded one standard deviation in 2005

      and 2006.

    372.    Creighton University Medical Center had 221 total pacemaker cases in

      2004. Among these 221 cases, 64 procedures were for generator replacements,

      representing 29 percent of cases as compared to the national average of 12.59

      percent among all hospitals.

    373.     In 2005, among 184 total pacemaker cases, 65 procedures were for

      generator replacements, representing 35.33 percent of the cases. The national

      average of generator replacements as a percent of total pacemaker cases in

      2005 was 18 percent.

    374.     In 2006, among 118 total pacemaker cases, 39 procedures were for

      generator replacements, representing 33.05 percent of the cases. The national




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      average of generator replacements as a percent of total pacemaker cases in

      2006 was 20 percent.

    375.    The five rate of generator replacement procedures as a percent of

      pacemaker cases at Creighton was 31.4 percent as compared to the national

      average of 20.2 percent.


                    Mercy Medical Center---Sioux City, Iowa
 

    376.    In close proximity, Mercy Medical had 148 total pacemaker cases in

      2004. Among these 148 cases, 41 procedures were for generator replacements

      in pacemakers, representing 28 percent of cases as compared to the national

      average of 12.59 percent

    377.     In 2005, among 128 total pacemaker cases, 49 procedures were for

      generator replacements, representing 38.28 percent of the cases or over double

      the national average of 18 percent.

    378.    In 2006, among 119 total pacemaker cases, 41 procedures were for

      generator replacements, representing 34.45 percent of the cases. The national

      average of generator replacements as a percent of total pacemaker cases in

      2006 was 20 percent.

    379.     In 2007, among 91 total pacemaker cases, 27 procedures were for

      generator replacements, representing 29.67 percent of the cases.


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    380.    In 2008, among 83 total pacemaker cases, 29 procedures were for

      generator replacements, representing 34.94 percent of the cases.

    381.    The five-year rate of generator replacements as a percent of pacemaker

      cases at Mercy Medical was 32.9 percent as compared to the national average

      of 20.2 percent.


      Cluster Thirteen in Central and South Georgia at Multiple Hospitals
                                           
    382.    Six Georgia hospitals in central and south Georgia have repeatedly

      experienced replacement rates in excess of one or two standard deviations over

      cohort averages.

    383.    Saint Francis Hospital in Columbus experienced replacement rates in

      excess of one standard deviation in 2004 and in excess of two standard

      deviations in 2005. Medical Center of Central Georgia experienced

      replacement rates which exceeded one standard deviation in 2004, 2005, and

      2006. In close proximity, South Georgia Medical Center had replacement rates

      which exceeded one standard deviation in 2007 and two standard deviations in

      2008. University Hospital in Augusta had replacement rates which exceeded

      one standard deviation in 2004, 2005, and 2006. Southeast Georgia Health

      System had replacement rates in excess of two standard deviations in 2005 and




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      in excess of one standard deviation in 2008. In 2005 and 2006, St. Joseph’s

      Hospital in Savannah experienced replacement rates in one standard deviation.

    384.     The detailed data from these six Georgia hospitals reveal striking jumps

      in replacement rates. For example, Medical Center of Central Georgia had 499

      total pacemaker cases in 2004. Among these 499 cases, at least 112 procedures

      were for generator replacements in pacemakers, representing 22 percent of

      cases as compared to the national average of 12.59 percent.

    385.     In 2005, among 448 total pacemaker cases, 162 procedures were for

      generator replacements, representing 36.16 percent of the cases. The national

      average of generator replacements as a percent of total pacemaker cases in

      2005 was 18 percent.

    386.     In 2006, among 516 total pacemaker cases, 180 procedures were for

      generator replacements, representing 34.88 percent of the cases. The national

      average of generator replacements as a percent of total pacemaker cases in

      2006 was 20 percent. Between 2005 and 2006, the rate of generator

      replacement growth at Medical Center of Central Georgia was over double the

      national average.

    387.     Total pacemaker cases at Medical Center of Central Georgia moved

      from 499 to 516 cases between 2004 and 2006. Yet replacement procedures

      jumped from 112 to 180 procedures.


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    388.     The five-year total of generator replacements as a percent of pacemaker

      cases at Medical Center of Central Georgia was 31.2 percent as compared to

      the national average of 20.2 percent.

    389.    South of Medical Center of Central Georgia in Valdosta, Georgia, South

      Georgia Medical Center experienced generator replacement rates which moved

      from 15.98 percent of total pacemaker cases in 2004 to 39.05 percent of total

      pacemaker cases in 2007 to 63.64 percent of total pacemaker cases in 2008.

    390.    At Saint Francis Hospital in Columbus, Georgia, replacement rates

      moved from 25.42 percent of pacemaker cases to 46.21 percent of cases in a

      single year between 2004 and 2005.

    391.    In 2004, there were 118 total pacemaker cases at Saint Francis Hospital.

      Among these 118 total cases, 30 procedures were for generator replacements,

      representing 25.42 of total cases which was double the national average of

      12.59 percent.

    392.    In 2005, there were 195 total pacemaker cases. Among these 195 total

      cases, there were 94 generator replacement procedures which represented

      46.21 percent of total cases as compared to the national average of 18 percent.


                       Cluster Fourteen in Chattanooga Vicinity
                                               




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    393.    Mr. Stokes’ investigation and analyses reveal a cluster in the

      Chattanooga vicinity with three facilities repeatedly experiencing replacement

      rates in excess of one or two standard deviations over the cohort averages.


                        Redmond Regional Medical Center
                                           

    394.    Replacement rates at Redmond Regional Medical Center (in Northwest

      Georgia near Chattanooga) exceeded one standard deviation over the national

      cohort average in 2004, 2005, 2006, and 2008. And in 2007, replacement rates

      at Redmond Regional exceeded two standard deviations over the national

      cohort average.

    395.    For example, Redmond Regional had 248 total pacemaker cases in 2004.

      Among these 248 cases, 54 procedures were for generator replacements in

      pacemakers, representing 21.77 percent of cases as compared to the national

      average of 12.59 percent.

    396.     In 2005, among 188 total pacemaker cases, 68 procedures were for

      generator replacements, representing 36.17 percent of the cases. The national

      average of generator replacements as a percent of total pacemaker cases in

      2005 was 18 percent.

    397.     In 2006, among 208 total pacemaker cases, 65 procedures were for

      generator replacements, representing 31.25 percent of the cases. The national


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      average of generator replacements as a percent of total pacemaker cases in

      2006 was 20 percent.

    398.     In 2007, among 204 total pacemaker cases, 94 procedures were for

      generator replacements, representing 46.08 percent of the cases. The national

      average of generator replacements as a percent of total pacemaker cases in

      2007 was 26 percent

    399.    In 2008, among 218 total pacemaker cases, 102 procedures were for

      generator replacements, representing 46.79 percent of the cases. The national

      average of generator replacements as a percent of total pacemaker cases in

      2008 was 28 percent.

    400.    Between 2004 and 2008, total pacemaker cases at Redmond Regional

      declined from 248 to 218 cases, yet generator replacement procedures nearly

      doubled from 54 to 102 procedures.

    401.    Replacement rate percents at Redmond Regional surged from 21.77

      percent of total cases in 2004 to 46.08 percent of total cases in 2007 and 46.79

      percent of total cases in 2008.


                                 Memorial Hospital
                                            




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    402.    At Memorial Hospital in Chattanooga, generator replacement rates

      moved from 21.30 percent of total pacemaker cases in 2004 to 43.20 percent of

      total pacemaker cases in 2008.

    403.    In 2004, there were 324 total pacemaker cases. Among these 324 cases,

      there were 69 generator replacement procedures at Memorial Hospital. In

      2008, there were 294 total pacemaker cases. Among these 294 cases, there

      were 127 generator replacement procedures at Memorial Hospital. While total

      pacemaker implant cases declined from 324 cases in 2004 to 294 cases in

      2008, generator replacement procedures nearly doubled over this five-year

      period, moving from 69 to 127 procedures.


                                 Huntsville Hospital
                                            

    404.    Close to Memorial Hospital in Chattanooga and Redmond Regional

      Medical Center in Rome, Georgia is Huntsville Hospital where replacement

      rates moved from 8.03 percent of total pacemaker cases in 2004 to 44.06

      percent of total pacemaker cases in 2008.

    405.    In 2004 there were 436 pacemaker cases. Among these 436 pacemaker

      cases, there were 35 generator replacement procedures at Huntsville Hospital,

      representing 8.03 percent of the total cases.




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    406.     In 2005 there were 271 total pacemaker cases with only 30 generator

      replacement procedures at Huntsville Hospital, representing 11.07 percent of

      the total cases.

    407.     In 2006 there were 396 total pacemaker cases with 90 generator

      replacement procedures at Huntsville Hospital, representing 22.73 percent of

      the total cases.

    408.     In 2007 there were 409 total pacemaker cases, including 155 generator

      replacement procedures at Huntsville Hospital. These generator replacement

      procedures represented 37.90 percent of the total cases.

    409.     In 2008 there were 404 total pacemaker cases, including 178 generator

      replacement procedures at Huntsville Hospital.

    410.     Comparing 2004 and 2008, total pacemaker cases declined slightly

      moving from 436 cases in 2004 to 404 cases in 2008.            Yet generator

      replacement procedures surged from 35 procedures in 2004 to 178 procedures

      in 2008.




                    Cluster Fifteen in Dallas-Paris Texas Region
                                            
    411.     A cluster emerges also in the Dallas region and the neighboring town of

      Paris, Texas approximately 100 miles away.


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                          Paris Regional Medical Center
                                           
    412.    In 2006, the replacement rates at Paris Regional exceeded one standard

      deviation over the cohort average among hospitals with at least 500 pacemaker

      cases over the time period 2004-2008 discussed below.            In 2008, the

      replacement rates at Paris Regional exceeded two standard deviations over the

      national cohort average.

    413.    For example, Paris Regional had 271 total pacemaker cases in 2004.

      Among these 271 cases, 56 procedures were for generator replacements in

      pacemakers, representing 21 percent of cases as compared to the national

      average of 12.59 percent among all hospitals.

    414.    In 2005, among 151 total pacemaker cases, 33 procedures were for

      generator replacements, representing 21.85 percent of the cases. The national

      average of generator replacements as a percent of total pacemaker cases in

      2005 was 18 percent.

    415.    In 2006, among 126 total pacemaker cases at Paris Regional, 47

      procedures were for generator replacements, representing 37.30 percent of the

      cases while the national average of generator replacements as a percent of total

      pacemaker cases in 2006 which was 20 percent. Between 2005 and 2006, Paris

      Regional experienced generator replacement growth at the rate of 42 percent

      while the national average among all hospitals was minus 1 percent.

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    416.     In 2007, among 113 total pacemaker cases at Paris Regional, 37

      procedures were for generator replacements, representing 32.74 percent of the

      cases. The national average of generator replacements as a percent of total

      pacemaker cases among all hospitals in 2007 was 26 percent.

    417.     Yet in 2008, among 95 total pacemaker cases at Paris Regional, 49

      procedures were for generator replacements, representing 51.58 percent of the

      cases as compared to the national average of 28.10 percent.

    418.     Between 2004 and 2008, generator replacement procedures at Paris

      Regional moved from 21 percent of total pacemaker cases in 2004 to 51.58

      percent of total pacemaker cases in 2008.

    419.     Between 2004 and 2008, total pacemaker cases declined drastically at

      Paris Regional, moving from 271 cases in 2004 to 95 cases in 2008. Yet

      generator replacement procedures only moved from 56 to 49 procedures.


           Baylor Jack and Jane Hamilton Heart and Vascular Hospital
                                           
    420.     In close proximity to Paris Regional is Baylor Jack and Jane Hamilton

      Heart and Vascular Hospital.

    421.     Replacement rates at Baylor Jack and Jane Hamilton Heart and Vascular

      Hospital exceeded one standard deviation for five consecutive years in 2004,

      2005, 2006, 2007, and 2008.


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    422.     For example, Baylor Jack and Jane Hamilton Heart and Vascular

      Hospital had 308 total pacemaker cases in 2004. Among these 308 cases, 74

      procedures were for generator replacements in pacemakers, representing 24.03

      percent of cases as compared to the national average of 12.59 percent among

      all hospitals.

    423.     In 2005, among 313 total pacemaker cases, 96 procedures were for

      generator replacements, representing 30.67 percent of the cases. The national

      average of generator replacements as a percent of total pacemaker cases in

      2005 was 18 percent.

    424.     In 2006, among 323 total pacemaker cases at Baylor Jack and Jane

      Hamilton Heart and Vascular Hospital, 119 procedures were for generator

      replacements, representing 36.84 percent of the cases while the national

      average of generator replacements as a percent of total pacemaker cases in

      2006 which was 20 percent.

    425.     In 2007, among 302 total pacemaker cases at Baylor Jack and Jane

      Hamilton Heart and Vascular Hospital, 118 procedures were for generator

      replacements, representing 39.07 percent of the cases. The national average of

      generator replacements as a percent of total pacemaker cases among all

      hospitals in 2007 was 26 percent.




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    426.    In 2008, among 303 total pacemaker cases, 122 procedures were for

      generator replacements, representing 40.26 percent of the cases as compared to

      the national average of 28.10 percent.

    427.    Between 2004 and 2008, total pacemaker cases remained stable at 308

      and 303 cases respectively. Yet generator replacement procedures surged from

      74 procedures in 2004 to 122 procedures in 2008.

    428.    The five-year replacement rate percent at Baylor Jack and Jane Hamilton

      Heart and Vascular Hospital was 34.15 percent as compared to the national

      average of 20.2 percent.


                     Cluster Sixteen in the Arkansas Region
                                           
    429.    Another regional cluster appears in Arkansas. In 2007 and 2008,

      Arkansas Heart Hospital experienced replacement rates in excess of one

      standard deviation beyond the cohort average. In 2007, the replacement rates

      at Baxter Regional Medical Center exceeded two standard deviations beyond

      the cohort average. In 2004 and 2005, replacement rates at St. Edward Mercy

      Medical Center exceeded one standard deviation beyond the cohort average.


                             Arkansas Heart Hospital
                                           

    430.    In 2004, Arkansas Heart Hospital had 333 total pacemaker cases.

      Among these 333 cases, 71 procedures were for generator replacements in

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      pacemakers, representing 21.32 percent of cases as compared to the national

      average of 12.59 percent among all hospitals.

    431.      In 2005, among 256 total pacemaker cases, 65 procedures were for

      generator replacements, representing 25.39 percent of the cases. The national

      average of generator replacements as a percent of total pacemaker cases in

      2005 was 18 percent.

    432.    In 2006, among 306 total pacemaker cases, 75 procedures were for

      generator replacements, representing 24.51 percent of the cases. The national

      average of generator replacements as a percent of total pacemaker cases in

      2006 was 20 percent.

    433.    In 2007, among 315 total pacemaker cases, 121 procedures were for

      generator replacements, representing 38.41 percent of the cases as compared to

      the national average of 26 percent. In a single year, generator replacement

      procedures jumped from 75 procedures to 121 procedures while total

      pacemaker cases remained stable.

    434.    In 2008, among 341 total pacemaker cases, 140 procedures were for

      generator replacements, representing 41.06 percent of the cases as compared to

      the national average of 28 percent.

    435.    Over the five-year period, total pacemaker cases at Arkansas Heart

      Hospital remained stable, while replacement procedures doubled. Between


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      2004 and 2008, generator replacement procedures moved from 21.32 percent

      of total cases to 41.06 percent of total cases. In 2004, among 333 total

      pacemaker cases, there were 71 generator replacements. In 2008, among 341

      total pacemaker cases, there were 140 generator replacements.


                    Baxter Regional Medical Center-Arkansas
                                              

    436.    In 2004, Baxter Regional Medical Center had 129 total pacemaker cases.

      Among these 129 cases, only 4 procedures were for generator replacements in

      pacemakers, representing 3.10 percent of total pacemaker cases.

    437.    In 2005, among 110 total pacemaker cases, 19 procedures were for

      generator replacements, representing 17.27 percent of the cases as compared to

      the national average of 18 percent.

    438.    In 2006, among 132 total pacemaker cases, 32 procedures were for

      generator replacements, representing 24.24 percent of the cases. The national

      average of generator replacements as a percent of total pacemaker cases in

      2006 was 20 percent.

    439.    Yet in 2007, among 128 total pacemaker cases, 61 procedures were for

      generator replacements, representing 47.66 percent of the cases as compared to

      the national average of 26 percent.




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    440.    In a single year, generator replacement procedures doubled while total

      cases remained stable. Between 2004 and 2007, total pacemaker cases

      remained stable, while generator replacement procedures escalated from 4

      replacement procedures in 2004 to 61 replacement procedures in 2007.


                         Cluster Seventeen in West Virginia
                                          
    441.    Another regional cluster appears in West Virginia. In 2006 and 2007,

      Charleston Area Medical Center experienced replacement rates in excess of

      one standard deviation beyond the cohort average. In 2004, 2006, and 2007,

      the replacement rates at King’s Daughters Medical Center exceeded one

      standard deviation beyond the cohort average.


                          Charleston Area Medical Center
 
    442.    For example, in 2004, Charleston Area Medical Center had 342 total

      pacemaker cases. Among these 342 cases, only 31 procedures were for

      generator replacements in pacemakers, representing 9.06 percent of total

      pacemaker cases.

    443.      In 2005, among 388 total pacemaker cases, 74 procedures were for

      generator replacements, representing 19.07 percent of the cases. The national

      average of generator replacements as a percent of total pacemaker cases in

      2005 was 18 percent.

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    444.    In 2006, among 487 total pacemaker cases, 166 procedures were for

      generator replacements, representing 34.09 percent of the cases. The national

      average of generator replacements as a percent of total pacemaker cases in

      2006 was 20 percent.

    445.    In 2007, among 418 total pacemaker cases, 161 procedures were for

      generator replacements, representing 38.52 percent of the cases as compared to

      the national average of 26 percent.

    446.    In 2008, among 358 total pacemaker cases, 127 procedures were for

      generator replacements, representing 35.47 percent of the cases as compared to

      the national average of 28 percent.

    447.    Over the five-year period, generator replacement procedures at

      Charleston Area Medical Center jumped from 9 percent of total pacemaker

      cases in 2004 to nearly 35 percent in 2006, 38 percent in 2007, and 35 percent

      in 2008.

    448.    Between 2004 and 2008, total pacemaker cases remained stable at 342 in

      2004 and 358 cases in 2008. Yet generator replacement procedures soared

      from 31 procedures in 2004 to 127 procedures in 2008.


                     Cluster Eighteen in Connecticut Region
 




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    449.    Another regional cluster appears in the Connecticut region with three

      hospitals experiencing replacement rates repeatedly in excess of one or two

      standard deviations over the cohort average. In 2004, 2005, 2006, 2007, and

      2008, Binghamton General Hospital experienced replacement rates in excess

      of one standard deviation beyond the cohort average. In 2006 and 2008, the

      replacement rates at Vassar Brother Medical Center exceeded one standard

      deviation beyond the cohort average and exceeded two standard deviations in

      2007. In 2004, 2005, 2007, and 2008, replacement rates at Hospital of Saint

      Raphael exceeded one standard deviation.


                         Vassar Brothers Medical Center
                                           

    450.    For example, in 2004, Vassar Brothers Medical Center had 126 total

      pacemaker cases. Among these 126 cases, only 4 procedures were for

      generator replacements in pacemakers, representing 3.17 percent of cases.

    451.      In 2005, among 117 total pacemaker cases, only 11 procedures were

      for generator replacements, representing 9.40 percent of the cases.

    452.    In 2006, among 151 total pacemaker cases, 47 procedures were for

      generator replacements, representing 31.13 percent of the cases. The national

      average of generator replacements as a percent of total pacemaker cases in

      2006 was 20 percent.


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    453.       In a two-year period from 2004 to 2006, the replacement rates at Vassar

      Brothers Medical Center moved from 3.17 percent to 31.13 percent of total

      cases.

    454.       In 2007, among 155 total pacemaker cases, 70 procedures were for

      generator replacements, representing 46.16 percent of the cases as compared to

      the national average of 26 percent.

    455.       In a three-year period from 2004 to 2007, the replacement rates at

      Vassar Brothers Medical Center moved from 3.17 percent to 46.16 percent of

      total cases.

    456.       In 2008, among 137 total pacemaker cases, 56 procedures were for

      generator replacements, representing 40.88 percent of the cases as compared to

      the national average of 28 percent.


                            Binghamton General Hospital
                                              

    457.       In close proximity to Vassar Brothers Medical Center, Binghamton

      General Hospital experienced replacement rates in excess of one standard

      deviation for five consecutive years, 2004-2008.

    458.       Binghamton General Hospital had 203 total pacemaker cases in 2004.

      Among these 203 cases, 49 procedures were for generator replacements in




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      pacemakers, representing 24.14 percent of cases as compared to the national

      average of 12.59 percent among all hospitals.

    459.    In 2005, among 168 total pacemaker cases, 52 procedures were for

      generator replacements, representing 30.95 percent of the cases. The national

      average of generator replacements as a percent of total pacemaker cases in

      2005 was 18 percent.

    460.    In 2006, among 147 total pacemaker cases at Binghamton General

      Hospital, 46 procedures were for generator replacements, representing 31.29

      percent of the cases while the national average of generator replacements as a

      percent of total pacemaker cases in 2006 which was 20 percent.

    461.    In 2007, among 134 total pacemaker cases at Binghamton General

      Hospital, 54 procedures were for generator replacements, representing 40.30

      percent of the cases. The national average of generator replacements as a

      percent of total pacemaker cases among all hospitals in 2007 was 26 percent.

    462.    In 2008, among 151 total pacemaker cases, 70 procedures were for

      generator replacements, representing 46.36 percent of the cases as compared to

      the national average of 28.10 percent.

    463.    Between 2004 and 2008, generator replacement procedures moved from

      24.14 percent to 46.36 percent of total pacemaker cases at Binghamton General

      Hospital.


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    464.    Between 2004 and 2008, total pacemaker cases declined from 203 in

      2004 to 151 cases in 2008. Yet generator replacement procedures increased

      from 49 procedures in 2004 to 70 procedures in 2008.

    465.    The five-year replacement rate percent at Binghamton General Hospital

      was 33.75 percent as compared to the national average of 20.2 percent.



                  The Defendants Have Concealed the Problem
 

    466.    The major escalation in generator replacement procedures occurred in

      the same time period that the Defendants touted the longevity of their devices

      and reported minimal generator replacement procedures needed for their

      products.

    467.    The Defendants purport to have policies in place which require the

      return, evaluation, and testing of all explanted devices. The allied professionals

      employed by the Defendants are typically responsible for facilitating the return

      of explanted devices to their employers for evaluation and investigation of

      potential malfunction, including premature generator depletion.

    468.     The Defendants each have represented to the FDA and physicians that

      they have effective and enforced programs and policies in place to recover and

      evaluate explanted devices for potential malfunction, including premature

      generator depletion. In fact, they don’t.

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    469.    The Defendants are aware of the escalation in generator replacement

      procedures over the last 6 years. They are also aware that the vast majority of

      these explanted devices are never returned by their sales agents to the company

      for evaluation of malfunction, including evaluation of potential premature

      generator depletion.

    470.        Each year Defendants publish Product Performance Reports which

      purport to contain “important patient management information for physicians.”

    471.        In 2010, the three Defendants’ Product Performance Reports

      collectively reported 3,413,013 pacemakers implanted and registered in the

      United States dating back to 1989. According to the Defendants’ 2010 Product

      Performance Reports, only 554 of such 3.4 million pacemakers have

      experienced suspected or confirmed premature generator depletion. This

      number represents .02 percent of all pacemakers implanted in the United

      States.

    472.        The Defendants closely track every pacemaker procedure and every

      generator replacement procedure at every hospital by every employed sales

      representative in the United States. The Defendants’ employed allied

      professionals handle programming of each of their pacemakers after each

      implantation. Yet the three Defendants collectively report only 554 “confirmed




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      or suspected cases of premature generator depletion” in the entire history of

      their 3.4 million pacemaker products in the United States.

    473.     Boston Scientific does not even report “confirmed cases of generator

      depletion.” Rather, Boston Scientific simply lists “unconfirmed reports of early

      generator depletion” and claims that out of its 707,000 pacemaker products

      implanted in the United States, there were 524 cases of “unconfirmed

      premature generator depletion.”

    474.     In its 2010 Product Performance Report, Medtronic claims that among

      its 1,879,300 pacemakers implanted in the United States, there are only 559

      cases of “malfunction with or without compromised therapy” which includes

      “suspected premature generator depletion.” These 559 cases represent .03

      percent of all Medtronic pacemakers in the United States. Medtronic does not

      report confirmed cases of “premature generator depletion.”

    475.       In its 2010 Product Performance Report, St. Jude claims among its

      826,713 pacemakers implanted in the United States, there have been only 30

      cases of “premature generator replacement.” St. Jude does not report the

      number of “normal generator depletions” among its 826,713 pacemaker

      products implanted in the United States.

    476.    The Defendants know that there are thousands of cases of premature

      pacemaker generator depletion which they are deliberately not reporting.


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    477.    The Defendants’ representations and product performance reports are at

      odds with the major escalation in generator replacement procedures among

      Medicare patients between 2004 and 2008.

    478.     Defendants have disguised the problem of premature generator

      depletion through a scheme which defines generator depletion without

      considering whether the output settings were appropriately programmed. The

      Defendants’ definition of premature depletion is designed to not reveal or

      identify the problem of output settings.

    479.     Medtronic’s Product Performance Report defines “normal generator

      depletion” as “the condition when…a device is returned with no associated

      complaint and the device has reached its elective replacement indicator(s) with

      implant time that meets or exceeds the nominal (50 percentile) predicted

      longevity at default (labeled) settings, or a device is returned and the device

      has reached its elective replacement indicator(s) with implant time exceeding

      80% of the expected longevity calculated using the available device setting

      information.” Neither definition contemplates consideration of the appropriate

      output settings or expected longevity with the appropriate output settings.

      Rather, the definition contemplates 50 percent predicted longevity at the

      default settings or 80 percent predicted longevity “calculated using the

      available device setting information.”


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    480.    Boston Scientific’s Product Performance Report contains a similar

      definition of “normal generator depletion.” Boston Scientific has represented

      to physicians and the FDA that it “performs generator usage analysis,

      including generator status verification, on all devices returned without a

      complaint.” For explanted pacemakers which are not returned to Boston

      Scientific, Boston Scientific automatically classifies such pacemakers as

      “normal generator depletions” despite the fact that it knows the exact longevity

      of the device and the exact output settings.

    481.     Medtronic’s Product Performance Reports recognizes only a “fraction”

      of explanted pacemakers are returned for testing. Medtronic’s Cardiac Rhythm

      Disease Management purportedly “uses both returned product analysis and

      multicenter clinical studies to monitor performance.”

    482.    While it touts its program to monitor pacemaker device performance

      “using an active multicenter clinical study,” the reality is that Medtronic is

      under-reporting the incidence of premature generator depletion among its

      pacemaker products. Medtronic reports 1,879,300 registered pacemakers

      implanted in the United States. According to Medtronic’s 2010 Product

      Performance Report, only 559 of such 1.87 million pacemakers or .03 percent

      have experienced “malfunction” which includes a category for “‘suspected

      premature generator depletion.”


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    483.    While each Defendant purports to promote the importance of evaluating

      explanted devices, the Defendants know that their programs to evaluate

      explanted devices for premature generator depletion are ineffective because (1)

      they do not enforce return policies among sales representatives and the vast

      majority of explanted devices are never returned, and (2) they do not report

      generator longevity testing which evaluates or considers the appropriateness of

      output settings. Consequently, sales representatives know that their conduct to

      program devices at high output settings will escape classification as

      “premature generator depletions” under the Defendants’ programs.

    484.     Although the Defendants claim that they inform regulatory bodies of

      each significant event that poses potential risk to patient health, the

      Defendants’ conduct has caused a major under-reporting of premature

      generator depletions to physicians, the FDA, and the Medicare Program.



      The Identification of the False Claims Caused by Defendants’ Agents


                                         
    485.     The Defendants know the identity of false claims caused by their agents

      to the Medicare Program and such false claims may be determined from the

      Defendants’ own records.




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    486.    The respective Defendants closely track the incidence of generator

      replacement procedures associated with each employed sales representative.

      The respective Defendants track the incidence of generator replacements at

      each hospital where their allied professionals are marketing and programming

      pacemaker devices.

    487.     The Defendants know the number of generator replacement procedures

      each month and they know the identity of each respective employed sales

      agent or allied professional involved in the programming of each particular

      device where a generator was depleted.

    488.    For each pacemaker, Defendants have written records of the

      pacemaker’s programmed settings, including the voltage output settings. The

      programmed settings are also stored on the computerized hard drive within the

      pacemaker generator.

    489.    Defendants closely monitor and track their sales representatives by

      numbers of generator replacement procedures each quarter of the fiscal year.

      They closely monitor and track revenues associated with each generator

      replacement for devices programmed by each sales representative at every

      hospital in the United States.

    490.    The Defendants know the expected longevity of every generator based

      on the voltage output settings of the generator.


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    491.     For example, the Medtronic EnPulse DR series, including models

      E1DRO1, E1DR03, and E1DR06, has a generator longevity range of 4.4 years

      at the high 5.0 volt setting to 7.5 years at the low 2.5 volt setting. The Kappa

      700 DR, including models KDR701, KDR703, and KDR706, have a generator

      longevity range of 3.0 years at the high 5.0 volt setting to 5.5 years at the low

      2.5 volt setting.

    492.     Each pacemaker generator manufactured by each Defendant has a

      significant wide range in longevity depending on the output settings. The

      respective Defendants and their agents know the exact longevity ranges and

      associated output settings in detail for each pacemaker model.

    493.     If the Defendants did not receive the explanted device after a generator

      replacement to evaluate the output settings on the generator computer, they

      still know the voltage of output settings based on records of each time the

      devices was programmed by their agents. They may also back-calculate the

      output settings based on the generator longevity and their own detailed

      knowledge of precise longevity times associated with particular voltage

      settings.



                                 The False Claims Act
 




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    494.    The FCA was amended pursuant to Public Law 111-21, the Fraud

      Enforcement and Recovery Act of 2009 (FERA), enacted May 20, 2009. “The

      amendments made by this section shall take effect on the date of enactment of

      the Act and shall apply to conduct on or after the date of enactment, except that

      (1) subparagraph (B) of section 3729 (a) (1), as added by subsection (a) (1)

      shall take effect as if enacted on June 7, 2008, and apply to all claims under the

      False Claims Act (31 U.S.C. § 3729) that are pending on or after date…”

      FERA, § 4(f). The conduct in this Complaint occurred from at least 2004

      through the present, this Complaint will predominantly reference pre-FERA

      numbering for paragraphs 3729(a) of the FCA with the limited exception of

      referencing the post-FERA numbering, pursuant to § 4(f) for conduct on or

      after June 7, 2008 when Defendants “knowingly make, use, or cause to be

      made or used, a false record or statement material to a false or fraudulent

      claim…” 31 U.S.C. § 3729 (a)(1)(B).

    495.       Under the pre-FERA and post-FERA False Claims Act, “’knowing’

      and ‘knowingly’ mean that a person, with respect to information (1) has actual

      knowledge of the information; (2) acts in deliberate ignorance of the truth or

      falsity of the information; or (3) acts in reckless disregard of the truth or falsity

      of the information, and no proof of specific intent to defraud is required.” 31

      U.S.C. 3729 (b).


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    496.     In considering the requisite scienter which subjects a defendant to

      liability under the False Claims Act, “no proof of specific intent to defraud is

      required.” Under the False Claims Act, a defendant is liable for acting in

      “reckless disregard of the truth or falsity of the information” or acting in

      “deliberate ignorance of the truth or falsity of the information.”

    497.     With respect to each claim at issue, the respective Defendant

      responsible for such claim either (1) had actual knowledge of the information;

      or (2) acted in deliberate ignorance of the truth or falsity of the information; or

      (3) acted in reckless disregard of the truth or falsity of the information. No

      proof of specific intent to defraud the United States is required under the False

      Claims Act.



               Medicare’s Conditions and Requirements for Payment
                                             

    498.     The Medicare Act, 42 U.S.C. 1395y (a) (1) (A), contains an express

      condition of payment---“no payment may be made [under the Medicare statute]

      for any expenses incurred which…are not reasonable and necessary for the

      diagnosis or treatment of illness or injury.” The Medicare Act explicitly links

      each Medicare payment to the requirement that the particular item or service be

      “reasonable and necessary.”




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    499.     A hospital’s or physician's services must be "reasonable and necessary

      for the diagnosis or treatment of illness or injury or to improve the functioning

      of a malformed body member." 42 U.S.C. §1395y (a) (i). A physician and

      hospital may not be reimbursed by Medicare for medically unnecessary

      services.

    500.    As a condition of payment of claims under the Medicare Program, health

      care providers must certify compliance with the Medicare Act Section 1395y

      (a) (1) (A) and certify that they were only seeking payment for services that

      were reasonable and necessary.

    501.    "Part B" of the Medicare Program covers certain facilities and medical

      services provided to qualified patients/beneficiaries on an outpatient basis. Part

      B of the Medicare Program is funded by insurance premiums paid by

      enrolled Medicare beneficiaries and contributions from the Federal Treasury.

      Eligible individuals who are age 65 or older, or disabled, may enroll in Part B

      to obtain benefits in return for payments of monthly premiums as

      established by HHS. However, payments under the Medicare Program are

      generally made directly to service providers such as physicians, rather than to

      the patient/beneficiary. This occurs when the physician accepts assignment

      of the right to payment from the beneficiary. In that case, the physician bills

      the Medicare Program.


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    502.     The United States provides reimbursement for Medicare claims from

      the Medicare Trust Fund through CMS. To assist in the administration of Part

      B of the Medicare Program, CMS contracts with "carriers." 42 U.S.C. §

      1395u. Carriers, typically insurance companies, are responsible for processing

      the payment of Part B claims to physicians on behalf of CMS. Id.

    503.     As a condition of participation in Medicare Part B Program, providers

      agree to be familiar with, and abide by, the Program’s reimbursement policies.

    504.     To bill the Medicare Program, a physician provider must submit an

      electronic or hard-copy claim form called "CMS 1500” to the physician’s

      designated carrier.

    505.     When the CMS 1500 is submitted, the physician certifies that the services

      in question were "medically indicated and necessary for the health of the

      patient."

    506.     Physicians wishing to submit the CMS 1500 electronically must first

      submit a provider enrollment form.

    507.     Regardless of whether the form is submitted in hard copy or

      electronically, the billing physician certified to the following language on the

      CMS 1500 form that was submitted to Medicare: “I certify that the services

      shown on this form were medically indicated and necessary for the health of

      the patient . . . .”


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    508.    A physician's and hospital’s services must be "reasonable and necessary

      for the diagnosis or treatment of illness or injury or to improve the functioning

      of a malformed body member." 42 U.S.C. §1395y (a) (i). A physician and

      hospital may not be reimbursed by Medicare for medically unnecessary

      services.

    509.    The United States has been damaged because the Defendants’ agents have

      caused claims to be submitted to the United States for unnecessary and

      unreasonable excessive generator replacement procedures associated with

      premature generator depletions.

    510.    The Defendants profited unlawfully from unnecessary and unreasonable

      pacemaker generator replacement procedures on elderly patients in the

      Medicare Program.

    511.    In addition to violating Medicare laws, the Defendants’ agents’

      premature depletion of pacemaker generator longevity presents a public health

      risk to Medicare beneficiaries.

    512.    Based on information and belief, the schemes of Defendants’ agents to

      deplete generators prematurely continue through the present, causing ongoing

      substantial damages to the Medicare Program.




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      Count I---Causing Presentation and Payment of False Claims (31 U.S.C.
                                  §3729(A) (1))


    513.    Relator repeats and realleges the foregoing paragraphs as if fully set

      forth herein.

    514.    The Defendants caused to be presented false claims for payment or

      approval to Federal Health Care Programs with respect to pacemaker generator

      replacement procedures excluded from coverage.

    515.     By virtue of the false claims caused by the Defendants, the United

      States sustained damages and continues to be damaged. The United States is

      entitled to treble damages under the False Claims Act, to be determined at trial,

      plus a civil penalty of $5,500 to $11,000 for each violation.



      Count II---Causing False Records or False Statements Material to False
      Claims Being Paid (31 U.S.C. §3729(A) (2))(31 U.S.C. §3729(A) (1) (B))



    516.    Relator repeats and realleges the foregoing Paragraphs as if fully set

      forth herein.

    517.    The Defendants knowingly caused to be made or used false records,

      false certifications, and false statements material to the payment of false

      claims. The Defendants’ conduct resulted in false certifications and false



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      records being presented to the United States and false claims being paid or

      approved by the United States in Federal Health Care Programs.

    518.    By virtue of the false records or false statements caused by the

      Defendants, the United States sustained damages and continues to be damaged.

      The United States is entitled to treble damages under the False Claims Act, to

      be determined at trial, plus a civil penalty of $5,500 to $11,000 for each

      violation.



      Count III---Conspiracy to Cause False Claims in Violation of 31 U.S.C. §
                                   3729(A) (3)


    519.    Relator repeats and realleges each allegation contained in the paragraphs

      above as though fully set forth herein.

    520.    This is a claim for penalties and treble damages under the False Claims

      Act, 31 U.S.C. § 3729, et seq., as amended.

    521.    Through the acts described above, the Defendants, acting in concert with

      other contractors, agents, partners, and/or representatives, conspired to

      knowingly cause to be presented, false claims to the United States and

      knowingly caused to be made or used false records and statements, and

      omitting material facts, to get false claims paid or approved.

    522.    As a result, the United States was unaware of the false claims caused by


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       Defendants and the United States paid and continues to pay claims that would

       not be paid if the Defendants’ unlawful conduct was known to the United

       States.

    523.      By reason of the Defendants’ acts, the United States has been damaged,

       and continues to be damaged, in a substantial amount to be determined at trial.

    524.      By virtue of Defendants’ conspiracy to defraud the United States, the

       United States sustained damages and is entitled to treble damages under the

       False Claims Act, to be determined at trial, plus a civil penalty of $5,500 to

       $11,000 for each violation.



                                     Prayers for Relief
                                              

       On behalf of the United States, Mr. Stokes requests judgment against

    Defendants in the amount of the United States’ damages arising from false claims

    billed to Federal Healthcare Programs for unnecessary generator replacement

    procedures as discussed above, trebled as required by law, for such civil penalties

    as are required by law, for a qui tam relators’ share as specified by 31 U.S.C.

    §3730, for attorneys fees, costs and expenses as provided by 31 U.S.C. §3730, and

    for all such further legal and equitable relief as may be just and proper.


                       JURY TRIAL IS HEREBY DEMANDED



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                      Respectfully submitted this ___ of May, 2011,

                      ____________________
                      Harry Huge
                      D.C. Bar Number 55640
                      The Huge Law Firm, LLP
                      1080 Wisconsin Ave., N.W., Suite 3016
                      Washington, DC 20007
                      202-965-4672

                      Bryan A. Vroon
                      Law Offices of Bryan A. Vroon LLC
                      1718 Peachtree Street Suite 1088
                      Atlanta Georgia 30309
                      (404)607-6712
                      Fax (404)607-6711
                      (Pro hac vice motion to be submitted)

                      Edward D. Robertson, Jr.
                      Anthony DeWitt
                      BARTIMUS, FRICKLETON,
                      ROBERTSON & GORNY, PC
                      715 Swifts Highway
                      Jefferson City, MO. 65109
                      573-659-4454 (Voice)
                      573-659-4460 (Facsimile)
                      (Pro hac vice motions to be submitted)


 

 

 

 

 

 

 


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                                Certificate of Service
                                            

    This is to certify that I have this day served a copy of the within and foregoing

Qui Tam Relators’ Complaint Under 31 U.S.C. §3729, Federal False Claims Act by

CERTIFIED MAIL RETURN RECEIPT REQUESTED addressed as follows:


                  The Honorable Eric H. Holder, Jr.
                  Attorney General of the United States of America
                  United States Department of Justice
                  950 Pennsylvania Avenue, NW
                  Washington, DC 20530-0001

                  The Honorable Ronald C. Machen, Jr.
                  United States Attorney for the District of Columbia
                  555 4th Street N.W.
                  Washington, D.C. 20530


       Respectfully submitted this ___ of June, 2011,


                          ____________________
                          Harry Huge




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